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Executive Summary
Background
The Community Policing Act of 2020 (HB 1250; “the Act”) mandated that the Virginia State Police (VSP) and
other state and local law-enforcement agencies, including police departments and sheriff’s offices (PDs and
SOs), begin collecting and reporting data on traffic stops as of July 1, 2020. State law-enforcement agencies,
PDs, and SOs are to collect data on the race, ethnicity, and other characteristics of the drivers stopped, and
on other circumstances of the stop such as the reason for the stop, whether any individuals or vehicles were
searched, and the outcome of the stop (arrest, citation, warning, etc.). All reporting agencies are to submit
this data to the VSP, which will maintain the data in the Community Policing Database.
The Act also mandated that the Virginia Department of Criminal Justice Services (DCJS) periodically obtain
data from the Community Policing Database and produce an annual report “for the purposes of analyzing
the data to determine the existence and prevalence of the practice of bias-based profiling and the
prevalence of complaints alleging the use of excessive force.” Such reports shall be produced and published
by July 1 of each year.
This is the first of these reports from DCJS. It contains a review of how the data was collected and analyzed
as well as preliminary findings of data from 613,483 traffic stops reported in Virginia during the nine-month
period between July 1, 2020, and March 31, 2021. This report also presents the findings from analyses of
statewide data; aggregated data from the seven VSP Divisions; and data from each individual PD and SO
that reported sufficient data to the Community Policing Database.
The information presented in this report is preliminary and should be interpreted with caution. This is
largely because this was the first year that the Community Policing Act was implemented. As the report
notes, many PDs and SOs  especially smaller agencies with limited resources  faced challenges
establishing the data collection and reporting required under the Act. The majority of law-enforcement
agencies (LEAs) in Virginia (269, or 77%) employ 50 or fewer officers, including 125, or 35% employing 10 or
fewer officers. Many of these agencies faced challenges fulfilling all requirements imposed by the state even
before the significant increase in reporting responsibilities resulting from the Act. For this reason, some
agencies were unable to report complete data responsive to the Community Policing Act for the entire year,
and in some cases the quality of the data was limited. Additionally, a substantial number of smaller agencies
reported so few traffic stops that it was not possible to interpret data related to driver race/ethnicity. (The
state may wish to consider providing additional resources to law-enforcement agencies, particularly smaller
agencies, to support their ability to comply with the data-related provisions of the Act, as described in
Recommendation 7 of this report.)
Another important limitation to the data and findings presented in this report relates to the race/ethnicity
data in the Community Policing Database itself. Because the state lacks a standardized mechanism for
reporting the race or ethnicity of a given driver, law-enforcement officers must either make their own
determination about a driver’s race/ethnicity (which may or may not be accurate) or ask for that
information in the course of the traffic stop, which could raise constitutional concerns or escalate the
perception of conflict in certain situations. Virginia does not collect and store information about a driver’s
race/ethnicity, whether in driver-related databases maintained by the Virginia Department of Motor
Vehicles or on individual driver’s licenses. Whether and to what extent the data related to driver
race/ethnicity in the Community Policing Database accurately captures this information cannot be
determined without further review.




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The factors described above limited the ability of DCJS staff to conduct any complex statistical analysis of
the data, or to draw any firm conclusions about the existence and prevalence of the practice of bias-based
profiling in a given agency or jurisdiction. It is anticipated that the reporting, analysis, and interpretation of
the data will improve in the future as the program matures.

Key Findings
Despite the limitations noted above, DCJS staff were able to identify differences in traffic stop rates for
persons in different racial/ethnic groups. This was done by comparing the percentage of persons in each
racial/ethnic group in Virginia’s population age 15 and older (generally the legal age to drive in Virginia) to
the percentage of persons in each racial/ethnic group among drivers in traffic stops. The ratio between
these two percentages was used to calculate a statewide Disparity Index (DI) for stops for each driver
group. Traffic stop DIs were not calculated for town and “other” agencies (such as airport or campus PDs)
because population breakouts by age and race/ethnicity were not available for these areas.
DCJS staff also examined differences in what happens to drivers in different racial/ethnic groups once a stop
has occurred, although this analysis was conducted only for those agencies reporting a sufficient number of
searches and actions taken toward the driver. This was done by comparing the percentage of drivers
stopped in each racial/ethnic group to the percentage in each group for which the stop resulted in a
particular outcome such as a search or arrest. Differences between driver racial/ethnic groups were found
regarding the reasons a stop was made, whether a search of individuals or the vehicle occurred, and what
action was taken toward the driver (warning, citation, arrest, etc.).
Calculated DI values were used to assess whether drivers in different racial/ethnic groups were
overrepresented (or underrepresented) in their likelihood to be stopped, or in events that occurred after a
stop was made, as follows1:
          A DI of 2.0 or higher indicates there was high overrepresentation for a group in how likely it is that a
           driver will be stopped, or that a particular event (search, arrest, etc.) will occur during the stop.
          A DI of 1.1 to 1.9 indicates there was moderate overrepresentation for a group in how likely it is that
           a driver will be stopped, or that a particular event (search, arrest, etc.) will occur during the stop.
          A DI of 1.0 or less indicates there was no overrepresentation (and may be underrepresentation) for
           a group in how likely it is that a driver will be stopped, or that a particular event (search, arrest, etc.)
           will occur during the stop.
The DIs calculated for both traffic stops and for events after a stop was made are descriptive and intended
only to show relative degrees of disparity; they are not, and should not, be interpreted as measures of
statistically significant levels of disparities between driver groups.




1   In some cases involving very small numbers of traffic stops, Disparity Index (DI) of 3.0 and greater were calculated. However,
    these should generally be considered unreliable due to the small numbers of stops available for analysis.



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Analysis of Traffic Stops: Statewide
Overview of Statewide Traffic Stops
In total, 613,483 traffic stops made in Virginia were analyzed, representing all stops with full data reported
by VSP and 304 other PDs and SOs for the nine-month period July 1, 2020 through March 31, 2021.
       The vast majority (96.7% or 593,427) of the traffic stops were made for traffic or motor-vehicle
        equipment violations.
       Only 3.8% (23,719) of the traffic stops resulted in a search of the driver, a passenger, or the vehicle.
       The most frequent outcome of a traffic stop was issuing a citation or summons (63.3% or 388,833
        stops). A warning was issued in another 31% (191,933) of the stops.
       Only 3.7% of the traffic stops resulted in a driver and/or passenger being arrested.

Driver Racial/Ethnicity Analysis of Statewide Traffic Stops
       Black drivers were stopped at higher rates than White drivers. Although only 19.6% of Virginia’s
        driving-age population in the dataset was Black, 31% of drivers stopped were Black. Black drivers
        were overrepresented among stopped drivers regardless of the reason that a traffic stop was
        initiated.
       Black drivers who were stopped were searched at higher rates than White drivers. 5.2% of stopped
        Black drivers had a search of their person, a passenger, or vehicle conducted, compared to 3.1% of
        White drivers.
       Black drivers who were stopped were arrested at higher rates than White drivers. 2.4% of Black
        drivers stopped were arrested, compared to 1.6% of White drivers.
       Hispanic drivers (of any race) were also stopped at higher rates than White drivers, although not as
        much so as Black drivers. Although Hispanics made up only 8.7% of Virginia’s driving-age population
        in the dataset, they made up 9.5% of drivers stopped during the nine-month period. Hispanic
        drivers were overrepresented among most, but not all, of the reasons that a traffic stop was
        initiated.
       Hispanic drivers who were stopped were searched at higher rates than White drivers. 4.7% of
        stopped Hispanic drivers had a search of their person, a passenger, or vehicle conducted, compared
        to 3.1% of White drivers.
       Hispanic drivers who were stopped were arrested at higher rates than either White drivers or Black
        drivers. 3.5% of stopped Hispanic drivers were arrested, compared to 1.6% of White drivers and
        2.4% of Black drivers.
       Statewide, White, American Indian/Alaskan Native and Asian/Pacific Islander drivers were stopped
        at rates below their representation in the driving-age population. This underrepresentation
        occurred not only for drivers stopped, but also for all related measures including reasons for stops;
        searches of drivers, passengers, and vehicles; and stop outcomes such as arrests or citations.




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Analysis of Traffic Stops: Agency-Level
DCJS also examined traffic stop data for the VSP as an agency statewide and for 304 other individual PDs
and SOs.2 The degree to which each of the agencies’ data could be analyzed depended on the amount of
data reported by the agency, and on the amount of resident population data available for the locality served
by the agency. Therefore, the findings are presented separately for four different groups of agencies: VSP,
agencies serving cities and counties, agencies serving towns, and other agencies.




2   Sixty-three other Virginia agencies were not included in the analysis because they either do not make any traffic stops, do not
    patrol public roadways, are no longer operational, or did not begin reporting data until after March 31, 2021 due to data
    collection and reporting implementation challenges.



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    Preliminary Analysis Tables


         Preliminary Analysis and Disparity Index (DI) by Law- Enforcement Agency (LEA) Type: Traffic St ops3

Traffi c St ops Conducted by         Traffic Stops Con ducted by          Traffic Stops Con ducted by         Traffic Sto ps Con ducted by
Vi rginia State Police:              City and County LEAs:                Tow n LEAs:                         "Ot her" LEAs:

1 statewide agency (7 VSP            152 of 305 LEAs in preliminary       108 of 305 LEAs in preliminary      44 of 305 LEAs in preliminary
Divisions combined) of 305           dataset {50%}; 66.6% of              dataset {35%}; 11.3% of             dataset (14%}; 2.1% of
LEAs in preliminary dataset          analyzed stops                       analyzed stops                      analyzed stops
{0.33%}; 20"/4 of analyzed stops

Summary of preliminary data:         Summary of preliminary dat a:        Summary of preliminary dat a:       Summary of preliminary dat a:

Black drivers had higher VSP         Black and Hispanic drivers had       The percentages of Black and        The percentages of Wh ite and
traffic stop Dis than other          higher Dis in terms of traffic       Hispanic drivers stopped by         Black drivers stopped by "other"
drivers.                             stops by city and county LEAs.       tow n LEAs were lower than the      LEAs (e.g., airports, college or
                                                                          percentages of stops for these      university campuses} were
                                                                          drivers statew ide.                 si milar to the percentages
                                                                                                              stopped statew ide.

Highlights from preliminary          Highlights fro m preliminary         Highlights fro m preliminary        Highlight s fro m preliminary
dat a:                               dat a:                               dat a:                              data:

• No driver groups had high          • 30.3% of agencies had high         • While 31% of drivers stopped      • The percentages of White and
  overrepresentation for traffic       overrepresentation for stops         statewide were Black, 20% of        Black drivers stopped by
  stops made by VSP                    of Black drivers, and 21.1% of       drivers stopped by town             "other" agencies were sim ilar
                                       agencies had the same for            agencies were Black.                 to the percentages stopped
• Black drivers had moderate
  overrepresentation for stops         stops of Hispanic drivers.                                                statew ide; 54.3% of drivers
                                                                          • Hispan ic drivers were 9.6% of
  made by VSP. No other driver         However, less than one               those stopped statewide and          stopped by "other" agencies
  groups had moderate                  percent of agencies had h igh        8.9% of drivers stopped by           were White, compared w ith
  overrepresentation for stops         overrepresentation for White                                              54.8% of stops statew ide, and
                                                                            town agencies.
                                       drivers stopped.                                                          30% of drivers stopped by
  made byVSP.                                                             • The percentage of White
                                     • Almost 50% of agencies had                                                "other" agencies were Black,
• VSP had no                                                                drivers stopped by town
                                       moderat e                                                                 compared w ith 31% of all
  overrepresentation for stops                                              agencies - 66.4% - was
                                       overrepresentation for stops                                              stops statew ide.
  of Hispanic, American Indian,                                             higher than the percentage of
  Asian and Wh ite drivers             of Black drivers, and 37.5% of       White drivers stopped             • The percentage of Hispanic
  stopped .                            agencies had the same for            statewide (54.8%}.                  drivers stopped by "other"
                                       stops of Hispanic drivers. Only                                          agencies - 7.9% - was slightly
                                       10.5% of agencies had                                                    lower than the percentage
                                       moderate overrepresentation                                              stopped statew ide (9.5%}.
                                       for White drivers stopped .
                                     • Only 17.1% of agencies had
                                       no overrepresent ation for
                                       stops of Black drivers, and
                                       only 33.6% of agencies had
                                       the same for stops of Hispanic
                                       drivers. However, nearly 90%
                                       of agencies had no
                                       overrepresentation for White
                                       drivers stopped.




   3
       Due to data limitations, a DI cou ld not be calculated to indicate w hether any driver group was overrepresented in t raffic stops by
       town LEAS and other LEAs.




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            Preliminary Analysis and Disparity Index (DI ) by LEA Type: Driver/ Passenger/Vehicle Searches

Searches Conducted by              Searches Conducted by City          Searches Conducted by Town         Searches Conduct ed by
Virginia State Police:             and Cou nty LEAs:                   LEAs:                              "Ot her" LEAs:
1 statewide agency (7 VSP          152 of 305 LEAs in preliminary      108 of 305 LEAs in preliminary     44 of 305 LEAs in preliminary
Divisions combined} of 305         dataset {50%}; 78.2% of             dataset {35%}; 7.5% of             dataset (14%}; 1.3% of
LEAs in preliminary dataset        analyzed searches                   analyzed searches                  analyzed searches
{0.33%}; 12.9% of analyzed
searches
Summary of preliminary data:       Summary of preliminary dat a:       Summary of preliminary dat a:      Summary of preliminary dat a:
Black and Hispanic drivers had     Black and Hispanic drivers had      Black and Hispanic drivers again   Black and Hispanic drivers again
higher Dis than other driver       higher Dis than other driver        had higher Dis than other driver   tended to have higher Dis than
groups in terms of searches        groups i n terms of searches        groups i n terms of searches       other driver groups in terms of
conducted by VSP.                  conducted by city and county        conducted by town LEAs.            searches conducted by "other''
                                   LEAs.                                                                  LEAs.




Highlights from preliminary        Highlights from preliminary         Highlights from preliminary        Highlights from preliminary
data:                              data:                               data:                              data:
• No driver groups had high        • 8.5% of agencies had high         • 20.4% of agencies had high       • 13.6% of agencies had high
   ove rrepresent ation for           overrepresent at ion for           overreprese nt at ion for           overrepresentation for
   searches made by VSP.              searches involving Black           searches involving Black            searches involving Black
• Black and Hispanic drivers had      drivers, their passengers or       drivers, their passengers, or       drivers, their passengers, or
  moderate overrepre sentat ion       vehicle, and 10.5% of              vehicle, and 11.1% of               veh icle, and 16% of agencies
  for searches made by VSP. No        agencies had the same for          agencies had the same for           had the same for searches
  other driver groups had             searches involving Hispanic        searches involving Hispanic         involving Hispanic drivers,
  moderate overrepresentation         drivers, their passengers, or      drivers, their passengers, or       their passengers, or vehicle.
  for VSP searches.                   vehicle. Less than 1% of           vehicle. No agency had the          By compa rison, only 2.3% of
• There was no                        agencies had high                  same for searches involving         agencies had high
   overrepresentation for             overrepresentation for             White drivers, their                overrepresentation for
   searches of American Indian,       searches involving Whit e          passengers, or vehicle. 27% of      searches involving White
   Asian and White drivers in         drivers, their passengers, or      agencies had moderat e              drivers, thei r passengers, or
   searches made by VSP.              vehicle.                           overreprese nt at ion for           veh icle.
                                   • 53.3% of agencies had               searches involving Black         •  23% of agencies had
                                     moderat e overrepresentation        drivers, their passengers, or       moderate
                                     for searches involving Black        vehicle, and 13% of agencies        overrepresentation for
                                     drivers, their passengers, or       had the same for searches           searches involving Black
                                     vehicle, and 22.4% of agencies      involving Hispanic drivers,         drivers, thei r passengers, or
                                     had the same for searches           their passengers, or veh icle.      veh icle, and 2% of agencies
                                     involvi ng Hispanic drivers,        15.7% of agencies had               had the same for searches
                                     thei r passengers, or veh icle.     moderate overrepresentation         involving Hispanic drivers,
                                     12.5% of agencies had               for searches involving White        their passengers, or vehicle.
                                     moderate overrepresentation         drivers, their passengers, or       9% of agencies had moderate
                                     for searches involving Wh ite       vehicle.                            overrepresentation for Wh ite
                                     drivers, their passengers, or     • Only 12% of agencies had no         drivers, their passengers, or
                                     vehicle.                            overrepresentat ion for             veh icle.
                                   • 19.7% of agencies had no            searches involvi ng Black        • Only 9% of agencies had no
                                     overrepresentat ion for             drivers, their passengers, or      overrepresentat ion for
                                     searches involvi ng Black           vehicle, and only 7.4% of          searches involving Black
                                     drivers, their passengers, or       agencies had the same for          drivers, their passengers, or
                                     vehicle, wh ile 30.3% of            searches involvi ng Hispanic       vehicle, wh ile 11% of agencies
                                     agencies had the same for           drivers, their passengers, or      had the same for searches
                                     searches involvi ng Hispanic        vehicle. By comparison, 63%        involvi ng Hispanic drivers,
                                     drivers, their passengers, or       of agencies had no                 thei r passengers, or veh icle.
                                     vehicle. By comparison, 76.3%       overrepresentation for             By comparison, 4 1% of
                                     of agencies had no                  searches involvi ng Wh ite         agencies had no
                                     overrepresentation for              drivers, their passengers, or      overrepresentation for
                                     searches involvi ng Wh ite          vehicle.                           searches involving Wh ite
                                     drivers, their passengers, or                                          drivers, their passengers, or
                                     vehicle.                                                               vehicle.




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                         Preliminary A nalysis and Disparity Index (DI) by LEA Ty pe: Driver Arrest s

Arrests Made by Virgin ia           Arrests Made by City and            Arrests Made by Town LEAs :         Arrests Made by " Other"
State Police:                       County LEAs:                                                            LEAs:
                                                                        108 of 305 LEAs in preliminary
1 statewide agency (7 VSP           152 of 305 LEAs in preliminary      dataset {35%}; 4.8% of              44 of 305 LEAs in preliminary
Divisions combined) of 305          dataset {50%}; 82.2% of             analyzed arrests                    dataset {14%}; 1.2% of
LEAs in preliminary dataset         analyzed arrests                                                        analyzed arrests
{0.33%); 11.7% of analyzed
Summary of preliminary dat a:       Summary of preliminary dat a:       Summary of preliminary dat a:       Summary of preliminary data:

Black and Hispanic drivers had      Black and Hispanic drivers had      Black and Hispanic drivers again    Dis for arrest s of Black and
higher Dis than other driver        higher Dis than other driver        had higher Dis t han other driver   Hispanic drivers by "other"
groups in terms of arrests made     groups in terms of arrests made     groups in terms of arrests made     agencies were mixed, w ith some
byVSP                               by city and county LEAs.            by town LEAs.                       Dis comparable to those for
                                                                                                            other drivers.



Highlights fro m preliminary        Highlights fro m preliminary        Highlights fro m preliminary        Highlights fro m preliminary
data:                               data:                               data:                               data:
• No driver groups had high         • 13.2% of agencies had high        • 19.4% of agencies had high        • 4.5% of agencies had high
  overrepresentat ion for             overrepresentat ion for             overrepresentation for Black        overrepresentation for Black
  arrest s in st ops made by VSP.     Hispanic drivers arrested, and      drivers arrested, and 11.1% of      and Wh ite drivers arrest ed.
• Black and Hispanic drivers had      11.2% of agencies had t he          agencies had t he same for          20.4% of agencies had high
  moderate overrepresentation         same for Black drivers              Hispanic drivers arrested. Less     overrepresentation for
  for arrests made by VSP. No         arrested. No agencies had           t han 1% of agencies had high       Hispanic drivers arrested.
  other driver groups had             high overrep resent ation for       overrepresentation for Whit e     • 13.6% of agencies had
  moderate overrepresentation         Wh ite drivers arrest ed.           drivers arrested.                   moderat e
  for arrests made by VSP           • 4 1.4% of agencies had            • 13.9% of agencies had               overrepresentat ion for Black
• There was no                        moderat e overrepresentation        moderat e                           and Wh ite drivers arrest ed.
  overrepresentation for              of Black drivers arrest ed, and     overrepresentation for Black        2.3% of agencies had
  American Indian, As ian and         19.1% of agencies had t he          drivers arrested, and 4.6% of       moderate overrepresentation
  Wh ite drivers in arrests made      same for Hispanic drivers           agencies had t he same for          for Hispanic drivers arrested.
  byVSP                               arrested. Only 15.1% of             Hispanic drivers arrested.        • 13.6% of agencies had no
                                      agencies had moderat e              18.5% of agencies had               overrepresentation for Black
                                      overrepresentation of Wh ite        moderate overrepresentation         drivers arrested, and 4.5% of
                                      drivers arrested.                   for Whit e drivers arrested.        agencies had t he same for
                                    • 17 .8% of agencies had no         • Only 9.2% of agencies had no        Hispanic drivers arrested. By
                                      overrepresentation for Black        overrepresentation for Black        comparison, 22.7% of
                                      drivers arrested, and 17.1% of      drivers arrested, and only          agencies had no
                                      agencies also had the same          1.8% of agencies had t he           overrepresentation for Whit e
                                      for Hispanic drivers arrested.      same for Hispanic drivers           drivers arrested.
                                      64.5% of agencies had no            arrested. 38.8% of agencies
                                      overrepresentation for Whit e       had no overrepresent ation for
                                      drivers arrested.                   Wh ite drivers arrested.


   Disparit y Indexes (Dis) for each of t he different agency types above are show n in Appendices A through D of
   t he report .


    Data on Complaints Alleging Excessive Use of Force
    In addition to analyzing data on t raffic stops, the Act also directed DCJS to obtain data from VSP on "the
    prevalence of com plaints alleging the use of excessive force." Use-of-force data is reported t o VSP by loca l
    LEAs on t he VSP SP-335 form . Use-of-force data reporting under HB 1250 began on July 1, 2020. To date,
    only limit ed use-of-force data has been collected and reported to VSP. DCJS examined the data t hat agencies
    have reported to VSP for t he period July 1, 2020 - December 31, 2020. Due to t he limited amount of data
    reported, no ana lysis of t he data is presented in t his report. VSP and DCJS are examining future options for
    report ing use-of-force data. Therefore, t he focus of the current report is on t he analysis of t raffic stop data.




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Conclusions and Recommendations
The overall finding of this analysis is that, statewide, Black and Hispanic drivers in Virginia were
disproportionately stopped by law enforcement when compared to other drivers between July 1, 2020, and
March 31, 2021, based on the number of drivers stopped relative to their numbers in Virginia’s driving-age
population. This type of disparity was seen among traffic stops made by many individual law-enforcement
agencies for which disparity measures could be calculated. Stops of Black and Hispanic drivers were also
more likely to result in a search or an arrest than stops of drivers from other racial groups. This finding is
consistent with traffic stop research conducted in other states.
Although this analysis identified disparities in traffic stop rates related to race/ethnicity, it does not allow
us to determine or measure specific reasons for these disparities. Most importantly for this study, this
analysis does not allow us to determine the extent to which these disparities may be due to bias-based
profiling or other factors that can vary depending on race or ethnicity.
Previous research has identified various factors other than bias-based profiling that could help to explain
why members of a given racial/ethnic group may be stopped at a higher or lower rate than their presence in
the driving-age population would suggest. These include:
       Different driving rates or patterns by different racial groups (perhaps linked to differences in housing
        or employment locations, in use of public transportation, etc.).
       Different rates of policing in different areas (racial minorities may be more likely to drive in or
        through higher-crime areas, which are policed more than other areas).
       Different agency practices (some law-enforcement agencies differ on how much discretion they give
        officers in deciding when to make a stop).
A major limitation of this study is that it used each racial/ethnic group’s proportion of the resident driving-
age population as a benchmark for measuring traffic stop disparities. This approach provides only a crude
measure of each group’s exposure to potential traffic stops; in other words, a racial/ethnic group’s
proportion of the driving-age population in a locality provides only a rough estimate of that group’s
proportion of the actual driving population in that locality.
Currently, researchers have no precise measure of how often drivers of a given racial/ethnic group drive in
their communities. Within each racial/ethnic group’s population in a locality, some individuals do not drive
at all; they may be incapable of driving, not have a driver’s license or a motor vehicle, or simply choose not
to drive even if they can. Others may drive, but rarely, and others still may be more likely to use public
transportation than drive. Additionally, many localities have high numbers of drivers from different
racial/ethnic groups who are passing through the locality – and subject to being stopped – but who are not
residents and therefore are not counted in the localities’ resident population figures. These nonresident
driver stops can skew measures of traffic stop disparities for such localities.
        RECOMMENDATION 1: The percentages and DIs presented in this preliminary report should not be
        interpreted to indicate that any individual law-enforcement agency is practicing bias-based profiling.
        Given the limitations noted above, these figures should only be used to identify where the numbers
        indicate that certain ethnic/racial groups are being disproportionately stopped, which may bear
        further review to identify why this is occurring and whether any action should be considered to
        reduce or eliminate it.
Finding an appropriate benchmark to represent the actual driving population for any given racial/ethnic
group is a problem that limits all traffic stop research, not just Virginia’s efforts. Some researchers have
identified methods that can allow for better (but not exact) ways of examining the extent to which bias-
based profiling may play a role in driver stops, or can at least help remove some of the confounding factors


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that make it difficult to determine the roles that profiling may play. These methods, described below, could
be applied in Virginia’s analysis of traffic stop data, but would require additional driver stop information not
currently collected under the Community Policing Act. Specific recommendations for additional information
to be collected in accordance with the Act are listed below. In addition, as noted in Recommendation 7, the
state may wish to consider allocating additional resources to law-enforcement agencies, particularly smaller
agencies, to assist with the collection of existing and future data elements required under the Community
Policing Act.

Considerations and Recommendations for Additional Data Collection
    Comparing the percentages of traffic stops made for each driver racial/ethnic group during daylight
     hours to those of drivers stopped during nighttime hours. This approach assumes that, during nighttime
     hours, law-enforcement officers would be less likely to discern the race/ethnicity of drivers they decide
     to stop than during daylight hours. If this is true, disparities based on driver race/ethnicity should occur
     less frequently in stops made during nighttime hours than in stops made during daylight hours.
     Research in other states has found evidence that non-White drivers are stopped less often during
     nighttime hours – when their race/ethnicity is less visible to law-enforcement officers.
         RECOMMENDATION 2: Collect data on the time of day at which each traffic stop was made, and add
         this data to the Virginia Community Policing Act (CPA) database. This data would allow DCJS to
         analyze traffic stop data by comparing disparities in driver stops made during hours of daylight and
         nighttime.

    Comparing the percentage of traffic stops made for drivers in each racial/ethnic group to the percentage
     of these drivers involved in traffic accidents. Research has shown that the racial/ethnic makeup of
     accident-involved drivers provides a better representation of the actual driving population than the
     racial/ethnic makeup of the resident driving-age population.
         RECOMMENDATION 3: Collect data on the race/ethnicity, age, and gender of drivers involved in
         traffic accidents in each Virginia locality. (It would not be necessary to collect personally identifiable
         information on the driver, only the demographic data.) How and where this data would be collected
         and stored would need to be determined, but the data would need to be maintained in a way that
         would allow DCJS to compare it with traffic stop data for each locality.

    Comparing how often contraband is found when searches are made involving stopped drivers in each
     racial/ethnic group. Research in other states has found that contraband “hit rates” are lower for non-
     White drivers than for White drivers. This may indicate that officers are making decisions to search non-
     White drivers based on a lower evidentiary bar than for searches of White drivers, suggesting that
     racial/ethnic bias may have been a factor when making search decisions.
         RECOMMENDATION 4: Collect data on searches made for contraband during traffic stops, and the
         results of the searches, and add this data to the CPA database.

    Comparing data on how many drivers in each racial/ethnic group are residents or nonresidents of the
     locality in which the traffic stop was made. This would allow DCJS staff to better understand the extent
     to which the resident driving-age population of a locality represents the actual driving population in the
     locality.
         RECOMMENDATION 5: Collect data on the residence of drivers involved in traffic stops, and add this
         data to the CPA database. This might be done using data collected from the driver’s license.




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    Identifying traffic stops in which the role of bias-based profiling may be minimal or nonexistent, so these
     stops can be eliminated from the DCJS traffic stop analysis when appropriate. These could include traffic
     stops made based on checkpoints or roadblocks, or made using electronic devices such as Radar, Laser,
     Light Detection and Ranging (LIDAR); Visual Average Speed Computer and Recorder (VASCAR); and
     license plate readers.
         RECOMMENDATION 6: Collect data on the method by which the traffic stop was initiated, to
         distinguish stops in which an officer’s observation of the driver’s race/ethnicity could have played a
         role from stops in which it would be less likely to play a role. Add this data to the CPA database.

The state may also wish to explore ways to address other limitations with the preliminary data used to
conduct this analysis. Specifically:
         RECOMMENDATION 7: Virginia should examine the need to provide resources to smaller law-
         enforcement agencies that had difficulty implementing the CPA data collection and reporting
         requirements. Assistance could be provided in several ways, such as helping these agencies train
         staff on reporting requirements and practices, and providing them with more effective data
         collection tools such as a statewide electronic summons application.
         RECOMMENDATION 8: Virginia should examine the feasibility of obtaining more accurate data on
         the race and ethnicity of drivers who are involved in law-enforcement traffic stops. Under the CPA,
         law-enforcement officers now have two methods for determining and recording the race/ethnicity
         of a driver: officers must either make their own determination about a driver’s race/ethnicity
         (which may or may not be accurate) or ask for that information in the course of the traffic stop,
         which could raise constitutional concerns or escalate the perception of conflict in certain situations.
         Virginia does not collect and store information about a driver’s race or ethnicity.
         RECOMMENDATION 9: Virginia should examine the feasibility of collecting data on the
         race/ethnicity of the law-enforcement officers making traffic stops, and adding it to the CPA
         database. This would allow DCJS staff to assess whether there are indications that the race/ethnicity
         of the officer making a stop is related to racial/ethnic disparities in stops.
         RECOMMENDATION 10: DCJS staff should conduct additional research on methods for calculating
         driver racial/ethnic disparities for agencies serving towns. Currently, the resident driving-age
         population data needed to examine stops by these agencies is limited, and DCJS staff should
         determine if this data, or other suitable data, is available. Similarly, DCJS staff should examine
         whether it is feasible to reliably assess traffic stop disparities for “other” agencies that do not have
         stable, defined resident population figures.
         RECOMMENDATION 11: DCJS staff should continue to work with VSP to determine how data on
         complaints of excessive use of force can be collected in a manner that allows for an examination of
         bias-based profiling in use of excessive force cases.




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Authority for Report
In 2020, Virginia policymakers enacted § 52-30.3 of the Code of Virginia, which directed the Virginia State
Police (VSP) to create a uniform statewide database (the Community Policing Report Database) to collect
data on law-enforcement motor vehicle and investigatory stops, and on complaints alleging the use of
excessive force. All Virginia state and local law-enforcement agencies were required to report this data to
the Virginia State Police.
In 2020, Virginia policymakers also enacted § 9.1-192, which directed the Virginia Department of Criminal
Justice Services (DCJS) to obtain data contained in the Community Policing Reporting Database, analyze the
data to determine the existence and prevalence of the practice of bias-based profiling and the prevalence of
complaints alleging the use of excessive force, and prepare an annual report on the findings of this analysis.
§ 9.1-192. Community Policing Reporting Database; annual report
A. The Department shall periodically access the Community Policing Reporting Database, which is
   maintained by the Department of State Police in accordance with § 52-30.3, for the purposes of analyzing
   the data to determine the existence and prevalence of the practice of bias-based profiling and the
   prevalence of complaints alleging the use of excessive force. The Department shall maintain all records
   relating to the analysis, validation, and interpretation of such data. The Department may seek assistance
   in analyzing the data from any accredited public or private institution of higher education in the
   Commonwealth or from an independent body having the experience, staff expertise, and technical
   support capability to provide such assistance.
B. The Director shall annually report the findings and recommendations resulting from the analysis and
   interpretation of the data from the Community Policing Reporting Database to the Governor, the General
   Assembly, and the Attorney General beginning on or before July 1, 2021, and each July 1 thereafter. The
   report shall also include information regarding state or local law enforcement agencies that have failed
   or refused to report the required data to the Department of State Police as required by §§ 15.2-1609.10,
   15.2-1722.1, and 52-30.2. A copy of the Director's report shall also be provided to each attorney for the
   Commonwealth of the county or city in which a reporting law-enforcement agency is located.
    2020, c. 1165, § 9.1-191.


This report is the first report prepared by DCJS in response to the § 9.1-192 mandate.
DCJS wishes to acknowledge the efforts made by the Virginia State Police, other state law-enforcement
agencies, and the numerous large and small local police departments and sheriff’s offices that worked to
establish the traffic stop data collection and reporting system that made this report possible.




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Introduction
The “Bias-Based Profiling” Issue
Although recent events such as the killing of George Floyd and Breonna Taylor have dramatically
highlighted the need to examine and improve relationships between law enforcement and minority
communities, research shows that these relationships have long been strained by the historical unequal
treatment of minorities in the United States. As noted in a 1990 report distributed by the U.S. Department
of Justice:
       “[T]he history of American police strategies cannot be separated from the history of the
        Nation as a whole. Unfortunately, our police, and all of our other institutions, must contend
        with many bitter legacies from that larger history. No paradigm – and no society – can be
        judged satisfactorily until those legacies have been confronted directly.”
          (Williams, H. and Murphy, P, 1990, p. 13).
Traffic stops are perhaps the most frequent encounters between law enforcement and citizens. It is
estimated that police stop more than 20 million motorists a year in the United States (Pierson et. al., 2020).
Both research and the living experience of citizens have long presented evidence that racial bias can play a
role in who is stopped, why they are stopped, and what happens after they are stopped.
Attempts to assess the degree to which race or ethnicity plays a role in traffic stops, including legislatively
mandated attempts to do so, are relatively new. Some of the earliest attempts grew out of legal action in
the early and middle 1990s alleging that state police in New Jersey and Maryland were aggressively profiling
and stopping Black and other minority drivers in efforts to interdict drug traffickers. As a result of these legal
findings, data was collected in both states which showed that minority drivers were being stopped at much
higher rates than White drivers. (Harris, D. 2020).
Publicity from the Maryland and New Jersey cases was a major impetus for the introduction of the federal
Traffic Stops Statistics Act of 1997 (H.R. 118). The Act was intended to address bias-based profiling –
law-enforcement officers disproportionately profiling and stopping Black and other minority drivers for
traffic infractions as a pretext for investigating suspected other crimes. H.R. 118 passed the U.S House of
Representatives, but failed to receive the votes needed to pass the U.S. Senate. Attempts to revive the bill in
later years also failed.
Although H.R. 118 failed in the U.S. Congress, the national conversation it spurred led various states to
examine the bias-based profiling issue within their own borders, and multiple states to begin pass anti-
racial-profiling legislation in the ensuing years.

Virginia Legislation
To address the issue of bias-based profiling in Virginia, the 2020 General Assembly session passed HB 1250 –
The Virginia Community Policing Act ( the “Act” or the CPA). The Act, effective July 1, 2020, defines bias-
based profiling, prohibits bias-based profiling by law-enforcement agencies (LEAs), and requires LEAs to
collect traffic stop data, including data on the racial/ethnic characteristics of the drivers stopped.




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In addition to directing DCJS to publish an annual report analyzing traffic stop data (§ 9.1-192), the Act
contained the following provisions:

§ 52-30.1. Definition.
For purposes of this chapter, unless the context requires a different meaning, "bias-based profiling" means
actions of a law-enforcement officer that are based solely on the real or perceived race, ethnicity, age,
gender, or any combination thereof, or other noncriminal characteristics of an individual, except when such
characteristics are used in combination with other identifying factors in seeking to apprehend a suspect who
matches a specific description.

§ 52-30.2. Prohibited practices; collection of data.
A. No State Police officer shall engage in bias-based profiling in the performance of his official duties.
B. State Police officers shall collect data pertaining to motor vehicle or investigatory stops to be reported
   into the Community Policing Reporting Database. State Police officers shall submit the data to their
   commanding officers, who shall forward it to the Superintendent of State Police.
C. Each time a law-enforcement officer or State Police officer stops a Individual or Driver of a motor vehicle,
   such officer shall collect the following data based on the officer's observation or information provided to
   the officer by the Individual or Driver: (i) the race, ethnicity, age, and gender of the person stopped;
   (ii) the reason for the stop; (iii) the location of the stop; (iv) whether a warning, written citation, or
   summons was issued or whether any person was arrested; (v) if a warning, written citation, or summons
   was issued or an arrest was made, the warning provided, violation charged, or crime charged; and
   (vi) whether the vehicle or any person was searched.
D. Each state and local law-enforcement agency shall collect the number of complaints the agency receives
   alleging the use of excessive force.

§ 52-30.3. (Effective until July 1, 2021) Community Policing Reporting Database established.
The Department of State Police shall develop and implement a uniform statewide database to collect motor
vehicle and investigatory stop records, records of complaints alleging the use of excessive force, and data
and information submitted by law-enforcement agencies pursuant to §§ 15.2-1609.10, 15.2-1722.1, and
52-30.2. The Department of State Police shall provide the Department of Criminal Justice Services with
secure remote access to the database for the purposes of analyzing such data as required by subsection A of
§ 9.1-192.

§ 52-30.4. Reporting of state and local law-enforcement agencies required.
All state and local law-enforcement agencies shall collect the data specified in subsections C and D of
§ 52-30.2, and any other data as may be specified by the Department of State Police, on forms developed by
the Department of State Police.

§ 15.2-1609.10. (Effective until July 1, 2021) Prohibited practices; collection of data.
A. No sheriff or deputy sheriff shall engage in bias-based profiling as defined in § 52-30.1 in the
   performance of his official duties.
B. The sheriff of every locality shall collect data pertaining to motor vehicle or investigative stops pursuant
   to § 52-30.2 and report such data to the Department of State Police for inclusion in the Community
   Policing Reporting Database established pursuant to § 52-30.3. The sheriff of the locality shall be
   responsible for forwarding the data to the Superintendent of State Police.



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§ 15.2-1722.1. (Effective until July 1, 2021) Prohibited practices; collection of data.
A. No law-enforcement officer shall engage in bias-based profiling as defined in § 52-30.1 in the
   performance of his official duties.
B. The police force of every locality shall collect data pertaining to motor vehicle or investigatory stops
   pursuant to § 52-30.2 and report such data to the Department of State Police for inclusion in the
   Community Policing Reporting Database established pursuant to § 52-30.3. The chief of police of the
   locality shall be responsible for forwarding the data to the Superintendent of State Police.

In the summer of 2020, the General Assembly Special Session I added additional provisions to the CPA with
SB 5030. Effective July 1, 2021, LEAs must also collect data similar to that above whenever a law-
enforcement officer stops and frisks a person based on reasonable suspicion, or temporarily detains a
person during any other investigatory stop. For traffic and other investigatory stops, data must be collected
on whether the person stopped spoke English, whether the law-enforcement officer used physical force
against any person, and whether any person used physical force against any officers (see Appendix F for the
SB 5030 language). LEAs were also required to post their traffic stop data on a publicly available website.
Because the additional SB 5030 reporting requirements did not become effective until July 1, 2021, the
additional data collected under those requirements are not addressed in this report. This data will be
analyzed and presented in the July 1, 2022, report prepared by DCJS.




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How the Data Was Collected and Reported
Virginia State Police (VSP) Data Collection System

Summary of VSP Traffic Stop Reporting Process
In May of 2020, the Virginia State Police (VSP) issued to all Virginia Law-Enforcement Agencies (LEAs)
Community Policing Data Collection Instructions and Technical Specifications Version 3 (see Appendix G).
This document instructed LEAs on the data required to be reported, defined the data variables and codes to
be used in reporting, and provided data fi le submission specifications.

The variables VSP identified to be reported under the Virginia Community Policing Act (CPA) are shown in
Table 1:

         Table 1. Traffic Stop Data Reported Under The Community Policing Act, Effective July 1, 2020

               Incident Details                         Driver Details                Additional Stop Details
  Record ID                                   Driver race                         Persons searched

  Stop date                                   Driver ethnicity                    Vehicle searched

  ORI (Originating Agency Identifier)         Driver age                          Additional arrest

  Location                                    Driver gender

  Jurisdiction Code                           Action taken

  Initial Reason for Stop                     Type of violation

                                              Specific violation

                                              Virginia Crime Code (optional)



How Law-Enforcement Agencies Reported to VSP

Law-enforcement agencies began collecting data on July 1, 2020. Not all agencies w ere able to start CPA-
mandated data collection and reporting at that t ime, and some w ere unable to begin reporting unti l 2021.
Agencies collected and submitted traffic stop data for either a month ly or quarterly period via their
computer-aided dispatch/records management systems, or via manual entry using an Excel spreadsheet, to
the Criminal Justice Information Services Division's Data Ana lysis and Reporting Team (DART) within VSP.
VSP instructed agencies to submit data at least quarterly on or by the 15th of the following month. Agencies
may submit a monthly data file, but not any more frequently than each m onth.

VSP Quality Checks and Assistance to Reporting Agencies

Staff of VSP' s DART reviewed all data submitted by agencies for correctness and adherence to VSP' s
technica l specificat ions. When agencies had questions or issues about CPA data collection and reporting,
DA RT staff worked w ith them to provide assistance to resolve these issues. Through this process, reporting
improved over t ime. One major issue identified by VSP was that smaller LEAs w ith few resources had
difficulty meeting the reporting requirements of the CPA.




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VSP Data Dissemination
Although §§ 15.2-1609.10 and 15.2-1722.1 did not require LEAs to publicly post their traffic stop data until
July 1, 2021, some LEAs began to post their data in late 2020 and early 2021. Some agencies posted this
data on their own agency websites, or though social media sites such as Facebook or Twitter.
To help agencies meet the public traffic stop data posting requirement, VSP worked with the Library of
Virginia to enable agencies to meet their public reporting mandate by having VSP post their data to the
Library’s Open Data Portal. Through this agreement, VSP was able to begin publishing data for some
agencies on the Open Data Portal beginning in May of 2021, and is making this process available to all
agencies. This will allow smaller agencies without their own capacity to post website data to meet the
public reporting requirement.
The Community Policing Act data can be found at: https://data.virginia.gov/stories/s/rden-cz3h
It should be noted that traffic stop data in this report will not match the data posted on the VSP Open Data
Portal website because the numbers in the Portal are constantly updated by VSP. All data used for the
analysis in this report was “frozen” on May 26, 2021.

Data on Complaints Alleging Use of Excessive Force
In addition to directing DCJS to analyze data on traffic stops, § 9.1-192 directed DCJS to obtain data on
complaints alleging the use of excessive force by law enforcement, and to analyze this data to examine the
prevalence of excessive use of force. Use-of-force data is reported to VSP by local LEAs on VSP’s SP-335
form.
Use-of-force data reporting under HB 1250 began on July 1, 2020. To date, only limited data has been
collected and reported to VSP. Appendix I provides a summary of the data that agencies have reported to
VSP for the period July 1, 2020 – December 31, 2020. Due to the limited amount of data reported, no
analysis of the data is presented in this report; only the numbers of complaints reported are shown. VSP
and DCJS are examining future options for reporting use-of-force data.




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How the Data Was Analyzed
Selection of Data to Analyze
The Virginia Department of Criminal Justice Services (DCJS) began receiving Virginia Community Policing Act
data from the Virginia State Police in early 2021 via a secure electronic file transfer process, and eventually
received a total of 677,255 traffic stop records for the period July 1, 2020 through May 12, 2021. DCJS and
VSP then did additional work to review the records, resolve any data issues identified in the records, and
identify any remaining records with issues that could affect the analysis and interpretation of the data.
During this review, some traffic stop records were excluded from the analysis dataset for various reasons.
Stops made at checkpoints were eliminated because these stops are not discretionary (all vehicles passing
through the checkpoint are stopped). Records were excluded if they were not “reported completely” (that
is, if data elements in the record were not reported with valid data values as defined in VSP Data Collection
Instructions and Technical Specifications Version 3).
After DCJS reviewed the remaining records, additional records were excluded from the analysis because
some of the data variables needed for the analysis had no value coded (null values) or the values coded
were outside the bounds of the allowable codes. Records removed for these reasons are listed in Table 2.

                                        Table 2. Records Excluded from Traffic Stop Ana lysi s

                                                                                        Number of r ecor ds null or      Total number of
    Data element         M andato ry?       Criteria for DCJS analysis dataset
                                                                                            out of boun ds              records to exclude
                                                                                        1,266 null; 19 invalid entry;
    In cid entoate            y            Bet ween 7/1/2020 and 3/31/2021              20,207 between 4/1/2021              21,492
                                                                                             and 5/12/2021
                                         Valid and not null; exclu de 2 agenci es
     AgencyORI                y                                                                     123                        123
                                                   no longer operating
                                           Valu es " C", " E", "O", " S" or "T"; " P"
   Reason ForStop             y                                                           17,553 null; 1, 276="P"            18,829
                                             exclud ed from analysis dataset
                                                                                        13,199 age=0 (" Unknown" );
         Age                  y                         15 or gr eater                                                       13,375
                                                                                        176 age between 1 and 14
       Gender                 y                    Values " F", "M ", " O"                        302 null                     302
    ActionTaken               y                  Values "W ", "S", "A", "N"                      5, 177 null                  5,177
  PersonSearchedYN            y                                                         4,473 one or more values
                                            Values " Y" or "N." All th ree are
 VehicleSearchedYN            y                                                             null; 1 r ecor d has              4,474
                                             reported for each stop r ecor d.
 Ad dit i onalArrestYN        y                                                         Per sonSea rch ed value=" P"
Tota l records excluded from analysis                                                                                        63,772



Based on the records review described above, 63,772 of the original 677,255 records were excluded, leaving
a final statewide analysis dataset containing a total of 613,483 records on drivers age 15 and older that were
stopped by Virginia LEAs from July 1, 2020 through March 31, 2021. These records were based on the VSP
CPA file finalized on May 26, 2021.
In addition to removing problematic traffic stop records from the analysis dataset, DCJS staff elected not to
examine several of the variables contained in the remaining traffic stop records for this preliminary report.
These variables include: Location, Jurisdiction Code, Violation Type, and Specific Violation.
There is nothing unusual about encountering these types of data issues when a new statewide data
collection system is started. VSP had to develop and distribute the data collection forms and instructions to
virtually every law-enforcement agency in Virginia, and each of these agencies in turn had to distribute CPA-
related forms and instructions to every one of its officers who might make a traffic stop. There are always


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startup issues and a considerable learning curve w hen implementing a data collection and reporting
program of this size.

Implementing the first year of traffic stop data collection and reporting was a challenge for Virginia's smaller
LEAs, w hich struggled to provide the staffing, training, and equipment needed for the CPA data collection.
This w as because many of Virginia' s loca l LEAs have small staffs and li mited resources. As seen in Figure 1
below, more than 77% of local LEAs have 50 or few er officers, and 125 agencies - more than one-third -
have 10 or fewer officers.

                                                         Figure 1
                             Number and Percent of Local Law Enforcement Agencies in Virginia
                                  by Number of Officers with Law Enforcement Duties

                                      • 10 or fewer   • 11 to 50   • 51 to 100   • 100 or more




                                                                         125
                                                                        (36%)




This report contains a recommendation that Virginia consider providing assistance to local LEAs to help
them meet the reporting requirements of the CPA.

Analysis Approach
The primary approach used in this analysis to look for possible evidence of bias-based profiling w as as
follow s:

•    For traffic stops, the percentage of drivers stopped in each racial/ethnic group w as compared to the
     percentage of driving-age individuals in each racial/ethnic group. This comparison w as made at the
     state and local level, including by individua l law -enforcement agencies w hen appropriate data w as
     available.

•    For events that occurred after a traffic stop was made, such as w hether a search was conducted or an
     arrest w as made, the comparison made was the percentage of drivers in each racial/ethnic group
     stopped for w hich each event such as a search or arrest occurred. These comparisons w ere also made
     at the state and local level, including by individual law-enforcement agencies w hen appropriate data
     was available.

•    To provide a standardized method for identifying and comparing disparities betw een different
     racial/ethnic groups in traffic stops, and in the events that occurred after a stop w as made, DCJS
     calculated a Disparit y Index (DI). The DI indicates the degree to w hich members of any racial/ethnic
     group w ere stopped relative to the group' s presence in the driving-age population, or the degree to
     w hich members of any group w ere involved in events that occurred after a stop w as made. The DI va lue
     for each racial/ethnic group indicates w hether drivers in that group were equally or underrepresented,




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     moderately overrepresented, or highly overrepresented in traffic stops or post-stop events, relative to
     what would be expected if no disparities existed.
    The percentage comparisons and the DIs described above were calculated using several different
     methods, depending on the level of geographic area (i.e., statewide or by locality) and the type of law-
     enforcement agency being examined (VSP, city and county agencies, town agencies, etc.). The
     calculation method used depended primarily on the amount of information available about the
     racial/ethnic demographics of the resident populations in each area examined. Details of how the
     percentages and DIs were calculated are presented in each section of the report, and additional details
     about the data used and calculations made are presented in Appendix H.




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Findings from Analysis of Statewide Traffic Stop Data
Overview of Statewide Data-All Driver Racial/Ethnic Groups Combined
The fina l statew ide analysis dataset contained a total of 613,483 records for drivers age 15 and o lder that
were stopped by all Virginia LEAs report ing usable Virginia Communit y Policing Act data for the period July
1, 2020 through March 31, 2021. Numbers of t raffic stops are anticipated to be greater in future reports
because the current report is based on nine months of data; some stop records w ere deleted due to data
qualit y issues; and traffic volume w as considerably low er than average during the period over which data
was collected due to shutdow ns and restrictions related to the COVID-19 pandemic from March of 2020
through m id-2021.

Of the 613,483 traffic stops in the dataset, 66.6% (408,447) w ere reported by LEAs that serve cit ies and
counties, 20% (122,797) w ere reported by VSP, 11.3% (69, 206) w ere reported by agencies serving towns,
and 2.2% (13,033) w ere reported by other t ypes of LEAs.
This section provides an overview of the statewide data (all drivers combined), including the reasons for the
stops, numbers of searches made, and outcomes of the stops.

Reasons for Traffic Stops
Table 3 show s a breakout of the reasons for the 613,483 traffic stops statewide.


                              Table 3. Reasons for Traffic Stops, Virginia Statewide
                                                                 All Drivers
                      Reason for Stop                 Number of Stops     Percent of Stops
                      Violation Total                          593,427                 96.7%
                        Traffic Violation                      523,177                 85.3%
                        Equipment Violation                     70,250                 11.5%
                      Investigative Total                       13,188                  2.1%
                        Other Non-consensual                    10,238                  1.7%
                        Terry Stop                               2,950                  0.5%
                      Call for Service                           6,868                  1.1%
                      Grand Total                              613,483               100.0%


Nearly 97% (593,427) of all stops reported w ere made for traffic or equipment violations. The vast majority
(85 .3%) of these w ere for t raffic vio lations; only 11.5% w ere for equipment vio lations. This finding is
consistent with traffic stop data from other states, w here violations w ere the majorit y of the reasons for
stops.
Investigative stops made up only 2.1% of all stops. Among the investigative stops, other non-consensual
reasons (stops for confirming or dispelling the suspicion of unlawful or unsafe activit y or taking enforcement
action in response to unlawful activity) made up 1.7% of all stops. Terry stops (stops based on a reasonable
suspicion of involvement in crim inal activit y) made up less than one percent of all stops. Calls for service
made up just over one percent of the stops.




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Person and Vehicle Searches
Only 3.8% (23,719) of the 613,483 stops made resulted in law enforcement searching the driver, a
passenger, and/ or t he vehicl e. Table 4 shows a breakout of searches made during t he stops.


                             Table 4 . Driver, Passenger and Vehicle Searches, Virginia Statewide
                                                                                           All Drivers
                                                                                Number of Stops Percent of Stops
                   Driver or passenger searched only                                          5,960                    25 .1%
                   Vehicle searched only                                                      5,298                    22 .3%
                   Driver or passenger and vehicle searched                                 12,4 61                    52 .5%
                   Grand Total                                                              23,719                  100.0%


Cases where the driver and/ or passenger was searched (but not t he vehicle) made up about one-quarter of
t he searches (5,960).4 Instances where only t he vehicle was searched comprised 22.3% of all searches. A
little over half of all searches involved bot h the drive r or passenger and t he vehicle (52.5%, 12,4 61).

Outcomes of Stops
Table 5 provides a breakdown of the outcomes for t he 613,483 t raffic stops.


                                      Table 5. Outcome of Driver Stops, Virginia Statewide
                                                                                        All Drivers
                                                                        Number of Stops          Percent of Stops
                            Driver citation/ su mmons issued                       388,833                    63.4%
                            Warning issued to driver                               191,933                    31.3%
                            No enforcement action to driver                          20,373                     3.3%
                            Driver arrested                                          12,344                     2.0%
                            Grand Total                                            613,483                  100.0%


The most frequent outcome of a stop was issuing a citat ion or summons (63.4%, or 388,833 stops). A
warning was issued in 31.3% (91,933) of t he stops. In only 2.0% of the stops was a driver arrested.
Passengers were arrested slight ly more often than drivers, as 2.1% of stops (12,829) resulted in a passenger
arrest. No furthe r analysis of passengers was performed because t he race and eth nicit y of passengers was
not recorded.




4
    Driver and passenger st op co unt s are com bi ned in the reporting, so it is not possi ble t o separate the number of drivers vs.
    passengers searched .




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Demographics of Drivers Stopped
Unless stated otherwise, percentages based on population used in this report refer to the Virginia
population age 15 and above (generally the legal driving age in Virginia). A very small number of drivers
stopped w ere below age 15, and these stops w ere excluded from the analysis as described in the previous
section of this report.
Population figures used in this report are from The National Center for Health Statistics (NCHS) vintage 2019
post-Census estimates of the resident population of the United States (April 1, 2010, July 1, 2010 -
July 1, 2019). Racial/ethnic categories used in this report are based on legacy U.S. Census definitions of four
racial groups. The Black category used in this report includes Black or African American; the American Indian
category includes American Indians or Alaskan Native; and the Asian category includes Asian or Other
Pacific Islanders. The Hispanic category can include any race with Hispanic origin. More information about
the popu lation data used for the calcu lations in this report can be found in Appendix H.

Table 6 show s a breakdown of the race/ ethnicity of the 613,483 drivers stopped by Virginia law
enforcement from July 1, 2020 through March 31, 2021.


                              Table 6. Race/ Ethnicity of Drivers Stopped, Virginia Statewide
                                          Race/ Ethnicity                                       Number              Percent
                     White                                                                      336,123             54.79%
                     Black                                                                      190,134             30.99%
                     Hispanic (any race)                                                          58,576              9.55%
                     Asian                                                                        12, 202             1.99%
                     American Indian                                                                1,539             0.25%
                     Unknown                                                                      14,909              2.43%
                     Grand Total                                                                613,483             100.00%


White drivers made up more than one-half (54.8%) of all drivers stopped statewide. Black drivers made up
31%, Hispanic drivers made up 9.5%, Asian drivers made up 2%, and American Indian drivers made up
0.25% of the drivers. Race/ ethnicity w as unknow n for 2.4% of the drivers stopped.

Figure 2 compares the percentage of each racial/ethnic group among drivers stopped to the percentage of
each racial/ethnic group in Virginia's driving-age popu lation (age 15+).

                                                                 Figure 2
                           Percent of Drivers Stopped vs Percent of Driver-Age Population by Race/Ethnicity
                                                          Vi rginia Statewide

             100%                                  ■ % of drivers stopped       ■ %driver-age population

              90%
              80%
              70%                 64.1%
              60%
              50%
              40%
                                                    31.0%
              30%
                                                            19.6%
              20%
              10%
               0%
                              White                    Black
                                                            I                9 .S%



                                                                                     •
                                                                                     8.7¾



                                                                              Hispanic
                                                                                                     0.3¾   0.3¾


                                                                                                  American Indian
                                                                                                                     2.0% •
                                                                                                                           7.4%



                                                                                                                       Asian
              Percentages do not sum to 100l6 because drivers with unknown race/ethnicity are excluded.




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As can be seen in Figure 2, although only 19.6% of Virginia’s-driving age population is Black, 31% of the
drivers stopped by law enforcement were Black. Hispanic drivers were slightly overrepresented relative to
their share of the population (9.5% and 8.7%, respectively). White and Asian drivers were stopped at rates
lower than their share of the driving-age population.

Reason for Traffic Stops, by Driver Race/Ethnicity
Figure 3 presents the reasons for traffic stops, by driver race/ethnicity. American Indian and Asian drivers
were excluded from the figure due to the small numbers in each stop category.

                                                              Figure 3
                                  Percent of Drivers Stopped by Reason for Stop by Race/Ethnicity
                                                           Virginia Statewide

             100%                                       ■ White   ■ Black     Hispanic

              90%
              80%
              70%
              60%
              50%
              40%
              30%
              20%                               13.5%

              10%
                                           11.0%"1 9.3%
                                                                  1.7% 1.7%1.7%           0.4% 0.5%0.7%    1.0% 1.0%2.2%
               0%
                     Traffic Violation   Equipment Violation       Other Non-              Terry Stop      Call for Service
                                                                   consensual


Traffic violations were the overwhelming reason for driver stops among all racial/ethnic groups. About 85%
of all drivers were stopped for a traffic violation. Black drivers were slightly less likely (83.3%) to be stopped
for a traffic violation than White (85.9%) or Hispanic (86%) drivers. On the other hand, Black drivers were
more likely (13.5%) to be stopped for equipment violations than White (11%) or Hispanic (9.3%) drivers.

Searches Made During Traffic Stops, by Driver Race/Ethnicity
Given that a certain number of drivers are stopped, how likely is it that the stop will subsequently result in a
search of the driver and/or a passenger, or of the vehicle? Figure 4 shows the percentage of drivers in each

                                                           Figure 4
                            Percent of Stopped Drivers Where Person and/or Vehicle Search Occurred
                                             by Race/Ethnicity, Virginia Statewide

               6%
                                                5.2%
               5%                                                      4.7%


               4%
                           3.1%
               3%

               2%                                                                                               1.7%




                                                                                             n D
                                                                                              1.1%
               1%

               0%
                          White                 Black                Hispanic            American Indian       Asian




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racial/ethnic group for which a search was conducted. “Search” means any person (driver or passenger)
and/or the vehicle were searched. Stops of drivers with an unknown race/ethnicity were excluded. No
race/ethnicity data on passengers is presented in this report, as demographic data was not collected on
passengers.
Overall, searches of drivers and/or passengers, and searches of vehicles, were rare following traffic stops.
Only 3.8% of all driver stops resulted in such a search. As can be seen, Black and Hispanic drivers who were
stopped were searched at higher rates than White drivers. 3.1% (10,358 out of 336,123) of stops of White
drivers resulted in a search, whereas 5.2% (9,985 out of 190,134) of stops of Black drivers and 4.7% (2,767
out of 58,576) of Hispanic drivers resulted in a search. American Indian and Asian drivers who were stopped
were less likely than White drivers to have a search conducted.

Outcome of Traffic Stops, by Driver Race/Ethnicity
Figure 5 presents the outcome of traffic stops, by driver race/ethnicity. Outcomes were coded based on the
most serious outcome of the stop, even though more than one outcome was possible for a stop. American
Indian and Asian drivers were excluded from the figure due to the small numbers in each stop category.

                                                                          Fi gure 5
                                                   Ou t com e of Traffic Stop by Driver Race/ Ethnicity
                                                                    Virginia Stat ewid e

             100%                                              ■ White   ■ Bla ck    Hispanic
              90%
              80"/4
                                           67.6%
              70"/4       6.3.8%
                                   60.7%
              60"/4
              50%
              40"/4                                        31.5% 32.9%




                                                                I'"" -
              30"/4
              20"/4
              10"/4                                                                    3.0%     4.1% 2.8%   1.6%   2.4 % 3.5%
               0%
                      Cita tion/Summons Issued             Warning Issued           No enforcement action   Driver arrested




Issuance of a citation or summons was the most likely outcome (more than 60% of the time) of a traffic
stop, regardless of driver race/ethnicity. Warnings were the second most likely outcome for all drivers (26%
to 33% of the time) across all driver race/ethnicities.
No enforcement action was taken in three to four percent of the stops.
Overall, only about 2% of driver stops resulted in an arrest of the driver. The largest post-stop differences
observed were based on race/ethnicity of drivers arrested. Although an arrest occurred in 1.6% of White
driver stops, an arrest occurred in 2.4% of Black driver stops and 3.5% of Hispanic driver stops.




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Driver Gender, by Race/ Ethnicity

Table 7 presents t he gender of all drivers stopped, by race/ et hnicity.
                    Table 7. Gender of Drivers Stopped, by Race/ Ethnicity, Virginia Statewide
                              White                           Black                   Hispanic (any race)
                     # of stops     % of stops       # of stops     % of stops      # of stops   % of stops
         Male            209,526         62.34%        117,660            61.88%       42,361        72.32%
         Female          126,396        37.60%          72,292            38.02%        16,169       27.60%
         Other               201          0.06%            182          0.10%              46         0.08%
         Tota l          336,123        100.00%        190,134        100.00%          58,576       100.00%
                         American Indian                      Asian                        Unknown
                     # of stops     % of stops       # of stops     % of stops      # of stops   % of stops
         Male              1,116        72.51%           7,980            65.40%        10,452       70.11%
         Female             421          27.36%          4,215            34.54%         4,320       28.98%
         Other                 2          0.13%              7          0.06%              137        0.92%
         Tota l            1,539        100.00%         12,202        100.00%           14,909      100.00%

Males made up the majority of drivers stopped, regardless of race/ ethnicity. The percentage of male drivers
stopped was about equal fo r both White (62.3%) and Black {61.9%) drivers. Males made up a somewhat
higher percentage of Hispanic (72.3%) and American Indian (72.5%) drivers stopped . Males made up 65.4%
of Asian drivers stopped.

Driver Age, by Driver Race/ Ethnicit y

Table 8 presents t he age of all drivers stopped, by race/ ethnicity.
                     Table 8. Age of Drivers Stopped, by Race/ Ethnicit y, Virginia Statewide
                                   White                        Black                 Hispanic (any race)
                          # of stops % of stops        # of stops % of stops       # of stops   % of stops
         15 to 24            82,513        24.55%        49,200           25.88%     16,937          28.91%
         25 to 34            83,049        24.71%         60,201          31.66%     17,477          29.84%
         35 to 44            60,192        17.91%         35,293          18.56%     12,708          21.69%
         45 to 54            49,145        14.62%         23,190          12.20%      7,297          12.46%
         55 to 64            37,954        11.29%         15,587           8.20%       3,185          5.44%
         65 and olde r       23,270         6.92%          6,663           3.50%         972          1.66%
         Tota l             336,123       100.00%       190,134       100.00%        58,576         100.00%
                             American Indian                      Asian                    Unknown
                          # of stops    % of stops     # of stops    % of stops    # of stops    % of stops
         15 to 24                 263      17.09%          2,644          21.67%       3,774         25.31%
         25 to 34                 471      30.60%          3,082          25.26%       4,635         31.09%
         35 to 44                 347      22.55%          2,384          19.54%       3,053         20.48%
         45 to 54                 279      18.13%          2,072          16.98%       1,925         12.91%
         55 to 64                 129       8.38%          1309           10.73%       1078           7.23%
         65 and olde r             so       3.25%            711           5.83%         444          2.98%
         Tota l               1,539       100.00%         12,202      100.00%        14,909         100.00%



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Younger drivers (age 15-34) made up 49.3% of White drivers stopped, but 57.5% of Black drivers and 58. 7%
of Hispanic drivers stopped. Asian drivers had the lowest percentage of younger drivers stopped. White and
Asian drivers had a higher percentage of drivers over age 55 stopped.


Statewide Disparity Index {DI}
To provide a standardized method for comparing disparities between different racial/ethnic groups in traffic
stops, DCJS calculated a Disparity Index (DI). For traffic stops, the DI indicates the degree to which members
of any racial/ethnic group were stopped relative to the group' s prevalence in the driving-age population.

The DI for each racial/ethnic group was calcu lated as:

                              Group's percentage of all stops reported by agency

                 Group' s percentage of population age 15+ statewide or in locality served by
                                                   agency

Dis of with a value of 1.0 or less for a group indicate that stops for that group occurred at a rate that is less
than or equal that group' s share of the driving-age population. Dis with a value greater than 1.0 indicate
that stops for that group occurred at a rate that is higher than that group' s share of the driving-age
population . The interpretation of different DI levels is shown in Table 9.

                                  Table 9. Interpretation of Driver Stop Dis
    DI Range                             Traffic Stop DI Interpretation Used in Report
 1.0 or less       Driver group had no overrepresentation or is underrepresented in stops w hen
                   compared to its proportion of the popu lation age 15+
 1.1-1.9           Driver group had moderate overrepresentation in stops compared to its proportion of
                   the population age 15+
 2.0 or higher     Driver group had high overrepresentation in stops compared to its proportion of the
                   popu lation age 15+
 Note: The DI descriptors above (under-, moderate-, and high overrepresentation) are not based on
 tests of stat istical significance. They are used merely as descriptors to differentiate between the levels
 of disparity observed. Some agencies had calculated driver stop Dis of 3.0 and higher, indicating very
 high overrepresentation for a driver group in stops. These higher Dis should be interpreted cautiously,
 because they may be skewed by large differences between the group's resident popu lation and the
 number of stopped drivers in the group w ho are transient drivers and are not part of the resident
 population. Also, Dis of 3.0 or higher may be the result of very low population percentages coupled
 w ith a very low number of stops.


In addition to calculating a DI to indicate the degree to w hich drivers in different racial/ethnic groups were
stopped, DCJS also calculated a separate DI to indicate the degree to w hich drivers in each group were
involved in events following traffic stops, including the reason for stops, whether persons and/or vehicles
were searched, and actions taken towards drivers (summons/citat ion issued, warning given arrest, etc.). The
DI for events occurring after the stop is calculated in a different manner than the DI is calcu lated for the
stop itself.

The DI for events occurring after the stop for each racial/ethnic group was calculated as:

                      Group's percentage for each stop reason, search, or stop outcome
                             Group' s percentage of all stops reported by agency



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DIs for events occurring after the stop, unlike those calculated for whether a stop occurred in the first place,
were not calculated using the group’s percentage of the resident driving-age population, but were
calculated using the percentage of drivers stopped by a given law-enforcement agency in each group.
Statewide DIs for driver stops, and for events following the stop, for each driver racial/ethnic group are
displayed in Table 10.
To illustrate how the data is presented in Table 10, the “Driver Stopped” section of Table 10 shows that
Black drivers made up 19.58% of Virginia’s driving-age population, yet they made up 30.99% of the drivers
stopped in Virginia. The comparison of the percentage of Black drivers stopped to the percentage of
Virginia’s statewide Black driving-age population produces a traffic stop DI of 1.6 for Black drivers statewide
(30.99%/19.58% = 1.6).
For another example of how the data in Table 10 is presented, the “Outcome of Stop” section of this report
shows that Black drivers made up 30.99% of the drivers stopped in Virginia, but they made up 36.39% of the
drivers arrested in Virginia. The comparison of the percentage of Black drivers stopped to the percentage of
Black drivers arrested produces an arrest DI of 1.2 for Black drivers statewide (36.39%/30.99%= 1.2).
An unusually high traffic stop DI can occur when a racial or ethnic group comprises a very small percentage
of a locality’s driving-age population, but also comprises a high percentage of its traffic stops. This is
especially true when a local LEA reports a small number of stops to begin with. For example, the Falls
Church City Sheriff's Office had an extremely high driver stop DI of 94.6 for American Indian drivers. This
group made up only 0.35% of the jurisdiction’s total driving-age population, but it made up 33% of the
drivers stopped by the LEA. In this case, the LEA reported only 3 traffic stops, 1 of which involved an
American Indian driver. The driver stop DI was therefore calculated as:

            33% (the percentage of all stops that involved American Indian drivers)
                                                                                                   =94.6
          0.35% (the percentage of driving-age population that was American Indian)

33% is disproportionately higher than 0.35%, resulting in the extremely high DI of 94.6. In this particular
case, the DI should not be considered meaningful because of the small number of stops involved.
Importantly, the DI does not tell us the reason(s) why members of a particular racial/ethnic group are being
stopped at a higher or lower rate than their presence in the population. The DI simply tells us that members
of a group are being disproportionately stopped compared to their presence in the population. It cannot
tell us the motivations of the officers making the stops. (See the section “Interpretation of Findings” for a
further explanation of why disparities in numbers of stops or in the outcomes of traffic stops cannot
automatically be assumed to be evidence of bias-based profiling.)




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                                                                                         Table 10.
                                                              Traffic Sto p Report: VIRGINIA STATEWIDE
                                                               St o ps Dat ed July 1, 2020-Ma rch 31, 2021

                                                                                                                                               American                          Race or
                                                                                                          Black-African      Hispanic           Indian or     Asian~Other       Ethnicity
                                                                                 Total           White       American       (any race)     Alaska Native Pacific Islander       Unknown
      Population Demogra ph ics
         Number Age 15+ in CY2019 Population                                6,989,921       4,480,087       1,368,801         605,082             21,956           513,995
        Percent Age 15+ in CY2019 Population                                 100.00%           64.09%          19.58%           8.66%              0 .31%            7.35%
      Drivers Stopped
         Number of Drivers Age 15+ Stopped                                    613,483         336,123         190,134          58,576              1,539            12,202       14,909
         Percent of Drive rs Age 15+ Stopped                                 100.00%           54.79%          30.99%           9.55%              0 .25%            1.99%        2.43%
        Disparity Index                                                                             0.9             1.6            1.1                0.8                 0.3
      Reason for Stop
         Number Stopped for Traffic Violation                                 523,177         288,606         158,352          50,401              1,362            10,900       13,556
        Percent Stopped for Traffic Violation                                100.00%           55.16%          30.27%           9.63%              0 .26%            2.0896       2.5996
        Disparity Index                                                                             1.0             1.0            1.0                1.0                 1.0        1.1
         Number Stopped for Equipment Violatio n                               70,250           37,106          25,742          5,451                 138                 924       889
        Percent Stopped for Equipment Vio lation                             100.0096          52.8296         36.6496          7.7696             0 .2096           1.3296       1.2796
        Disparity Index                                                                             1.0             1.2            0.8                0.8                 0.7        0.5
        Number Stopped for Call for Service                                      6,868           3,351           1,903           1,316                 15                 189         94
         Percent Stopped for Call for Service                                100.0096          48.7996         27.71%         19.16%               0 .22%            2.7596       1.37%
        Disparity Index                                                                             0.9             0 .9           2.0                0.9                 1.4        0.6
         Number Stopped for Terry Stop                                           2,950            1,483            916            422                   8                  78         43
         Percent Stopped for Terry Stop                                      100.00%           50.27%          31.0596        14.31%               0 .27%            2.6496       1.46%
        Disparity Index                                                                             0.9             1.0            1.5                1.1                 1.3        0.6
         Number Stopped for Other Reason                                       10,238            5,577           3,221            986                  16                 111       327
         Percent Stopped for Other Reason                                    100.00%           54.47%          31.46%           9.63%              0 .16%            1.0896       3.19%
        Disparity Index                                                                             1.0             1.0            1.0                0.6                 0.5        1.3
      Outcome of Stop
        Number of Stops w ith Warning Issued                                  191,933         105,908           62,465         15,277                 460            4,209        3,614
        Percent of Stops with Warning Issued                                 100.00%           55.18%          32.5596          7.96%              0 .24%            2.1996       1.88%
        Disparity Index                                                                             1.0             1.1            0.8                1.0                 1.1        0.8
        Number of Stops w ith Citation/Summons issued                         388,833         214,570         115,433          39,603              1,024              7,462      10,741
        Percent of Stops with Citation/Summons issued                        100.00%           55.18%          29.69%         10.19%               0 .26%            1.9296       2.76%
        Disparity Index                                                                             1.0             1.0            1.1                1.0                 1.0        1.1
        Number of Stops w ith Driver Arrested                                  12,344            5,437           4,492           2,030                 14                 218       153
        Percent of Stops with Driver Arrested                                100.00%           44.05%          36.3996        16.4596              0 .11%            1.7796       1.24%
        Disparity Index                                                                             0.8             1.2            1.7                0.5                 0.9        0.5
        Number of Stops w ith No Enforcement Action                            20,373           10,208           7,744           1,666                 41                 313       401
        Percent of Stops with No Enforcement Action                          100.00%           50.11%          38.01%           8.1896             0 .20%            1.5496       1.97%
        Disparity Index                                                                             0.9             1.2            0.9                0.8                 0.8        0.8
     Additional Details of Stop
        Number of Stops w ith No Search or Passenger Arrest                   582,073         321,482         177,796          54,959              1,515            11,852       14,469
        Percent of Stops with No Sea rch or Passenger Arrest                 100.0096          55.2396         30.5596          9.4496             0 .2696           2.0496       2.49%
         Disparity Index                                                                            1.0             1.0            1.0                1.0                 1.0        1.0
         Number of Stops with Search Only                                      18,581             7,869          7,950           2,266                 14                 232       250
        Percent of Stops with Sea rch Only                                   100.0096          42.3596         42.7996        12.2096              0 .0896           1.2596       1.35%
         Disparity Index                                                                            0.8             1.4            1.3                0.3                 0.6        0 .6
        Number of Stops w ith Passe nger Arrest Only                             7,691           4,283           2,353            850                   4                  75       126
        Percent of Stops with Passenger Arrest Only                          100.0096          55.6996         30.5996        11.0596              0 .0596           0 .9896      1.64%
        Disparity Index                                                                             1.0             1.0            1.2                0.2                 0.5        0.7
        Number of Stops w ith Search and Passenge r Arrest                       5,138            2,489          2,035            501                   6                 43          64
        Percent of Stops with Sea rch and Passenger Arrest                   100.00%           48.44%          39.6196          9.7596             0 .1296           0 .8496      1.25%
        Disparity Index                                                                             0.9             1.3            1.0                0.5                 0.4        0.5
     Data sources:
     Community Policing Data Collection, Virginia Department of Stat e Police, May 2021.
     Vintage 2019 postcensal estimates of the resident population of the United States (April 1, 2010, July 1, 2010-July 1, 2019}, by year, county, single-year of age,
     bridged race, Hispanic origin, and sex. Available from: http://www.cdc.gov/nchs/nvss/bridged_race.htm as of July 9 2020.
      Prepared by: Virginia Department of Criminal Justice Services Research Center, June 2021.
     Search can involve passenger, driver, vehicle, or some combination of the three.
     The disparity index for small numbers of stops and small populations should be interpreted w ith caution because of the small numbers involved.




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Summary of Statewide Race/Ethnicity Analysis
A review of the statewide data shows that Black and Hispanic drivers were disproportionately stopped, and
tended to have higher rates of search and arrest when they were stopped, compared to White or Asian
drivers in Virginia.
       Black drivers were stopped at higher rates than White drivers. Although only 19.6% of Virginia’s
        driving-age population was Black, 31% of drivers stopped were Black. Black drivers were
        overrepresented among stopped drivers regardless of the reason that a traffic stop was initiated.
       Black drivers who were stopped were searched at higher rates than White drivers. 5.2% of stopped
        Black drivers had a search of their person, a passenger or vehicle conducted, compared to 3.1% of
        White drivers.
       Black drivers who were stopped were arrested at higher rates than White drivers. 2.4% of Black
        drivers stopped were arrested, compared to 1.6% of White drivers.
       Hispanic drivers (of any race) were also stopped at higher rates than White drivers, although not as
        much so as Black drivers. Although Hispanics made up only 8.7% of Virginia’s driving-age
        population, they made up 9.5% of drivers stopped. Hispanic drivers were overrepresented among
        most, but not all, of the reasons that a traffic stop was initiated.
       Hispanic drivers who were stopped were searched at higher rates than White drivers. 4.7% of
        stopped Hispanic drivers had a search of their person, a passenger or vehicle conducted, as
        compared to 3.1% of White drivers.
       Hispanic drivers who were stopped were arrested at higher rates than White drivers or Black
        drivers. 3.5% of stopped Hispanic drivers were arrested, compared to 1.6% of White drivers and
        2.4% of Black drivers.
       Statewide, White, American Indian, and Asian drivers were stopped at rates below their
        representation in the driving-age population. This underrepresentation occurred not just for drivers
        stopped, but also for all related measures including reasons for stops, searches of drivers,
        passengers and vehicles, and stop outcomes such as arrests or citations.
       Male drivers made up similar percentages of both White (62.3%) and Black (61.9%) drivers stopped.
        Males made up a somewhat higher percentage of Hispanic (72.3%) and American Indian (72.5%)
        drivers stopped. Males made up 65.4% of Asian drivers stopped.




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Findings from Analysis of Agency-Level Data
The analysis of statewide driver stop data showed that Black and Hispanic drivers were disproportionately
stopped, and experienced more serious outcomes during those stops, than other drivers. This section
provides a summary of the findings from the analysis of traffic stop data for individual Law-Enforcement
Agencies (LEAs) in Virginia. Tables providing stop details for each individual agency are provided in
Appendices A through D.
First, data is presented showing how likely drivers in each racial/ethnic group were to be stopped by LEAs.
Second, data is presented on the events that occurred after each stop was made (searches made, stop
outcome) for each driver racial/ethnic group.
The VSP provided DCJS with a list of 368 LEAs in Virginia. However, only 305 of these agencies were included
in the traffic stop analysis. 63 agencies were not included (see Appendix E) for reasons such as:
       The agencies are no longer operational.
       The agencies did not begin reporting traffic stop data to VSP until after March 31, 2021.
       The agencies have no primary law-enforcement duties (typically a sheriff’s office that provides staff
        and security for jails and courthouses).
       The agencies’ jurisdictions do not include public roadways (typically agencies serving some colleges
        or universities or commercial properties).
The traffic stop analyses for these 305 agencies are presented separately for four different types of LEAs,
depending upon the amount of driver traffic stop and driver demographic data available for the areas they
serve. The four agency types are: Virginia State Police, local agencies serving cities and counties, local
agencies serving towns, and other state, local, and private agencies.

Virginia State Police Traffic Stop Analysis
VSP provides traffic enforcement on state roadways and interstate highways throughout Virginia. Due to
Virginia’s geography and size, these enforcement duties are divided among seven VSP divisions, with each
division including multiple counties, cities, and towns. Traffic stop data was provided for stops made by VSP
officers in each VSP division, and the data was combined for analysis and presented here statewide. A
Disparity Index (DI) was calculated for each group of drivers who were stopped by VSP statewide, and for
the events following the stop. Statewide driving age population age 15 and older by race and ethnic group
was used to calculate DIs for VSP driver stops, searches, and arrests.
Due to limitations in the data, DCJS was unable to accurately calculate DIs for driver stops or post-stop
events for each of the seven individual VSP divisions. These data limitations have been corrected, and
division-level DIs will be calculated and reported in the next CPA report.
Detailed DI information for VSP traffic stops, as well as for events that occurred after the stops were made,
are shown in Appendix A.




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Geographic Presentation of VSP Driver Stop Disparity Indexes (DIs)
The maps in Figure 6 illustrate which driver racial/ethnic groups had moderate or no overrepresentation for
driver stops conducted by VSP. Black drivers were the only group moderately overrepresented in VSP driver
stops; there was no overrepresentation of any other driver racial/ethnic group among VSP stops. No driver
racial/ethnic group had high overrepresentation in stops conducted by VSP.

                                                     Figure 6
                                VSP Maps for Driver Stops by Driver Race/Ethnicity


                                                                               VSP Statewide DI



         -
              No stops
              High overrepresentation (DI 2.0 or higher)                    White Drivers Stopped
              Moderate overrepresentation (DI 1.1 to 1.9)
         D    No overrepresentation (DI up to 1.0)




                         VSP Statewide DI                                     VSP Statewide DI
                     Black Drivers Stopped                           Hispanic (any race) Drivers Stopped




                     VSP Statewide DI                                          VSP Statewide DI
             American Indian Drivers Stopped                                Asian Drivers Stopped




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Analysis of Events Following VSP Traffic Stops
This section examines two major events that can occur once a traffic stop is made: Are there racial/ethnic
disparities in how often a driver, passenger, or vehicle is searched, or in how often a driver is arrested? In
this section, for any single stop, a search was counted if a search of a person (driver or passenger), vehicle,
or any combination of these, occurred. It is considered one search; they are not counted separately. Also, in
this section, the analysis of arrests examines only driver arrests. Some data on passenger arrests was also
included in the data collection, but is excluded from the analysis because racial/ethnic data was not
collected for passengers.
The DIs for events following a traffic stop can be calculated more precisely than the DI regarding whether or
not a driver was stopped in the first place. The driver stop DI is based on a comparison of the percentage of
drivers in each racial/ethnic group stopped by VSP statewide to the percentage of driving-age individuals in
each group in the resident population statewide. As previously stated, knowing the resident population age
15+ for each racial/ethnic group is not the same as knowing the actual number of drivers on the road in
each group. It is only an approximation.
However, once a stop occurs, the actual percentage of drivers in each group who were stopped is known,
and we know the actual percentage of drivers in each group where a person or vehicle search occurred,
and/or the driver was arrested is known.




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Geographic Presentation of VSP Search DIs
The maps in Figure 7 illustrate which driver racial/ethnic groups had moderate or no overrepresentation in
searches conducted by VSP. Black and Hispanic drivers were moderately overrepresented in searches
conducted by VSP. White, American Indian, and Asian drivers were underrepresented in VSP driver and/or
vehicle searches. No driver racial/ethnic group had high overrepresentation in VSP searches.
                                                   Figure 7
                           VSP Statewide Maps for Searches by Driver Race/Ethnicity


                                                                                      VSP Statewide DI
                                                                                 Searches with White Drivers




      -
           No searches
           High overrepresentation (DI 2.0 or higher)
           Moderate overrepresentation (DI 1.1 to 1.9)
      D    No overrepresentation (DI up to 1.0)




                     VSP Statewide DI                                         VSP Statewide DI
                Searches with Black Drivers                       Searches with Hispanic (any race) Drivers




                     VSP Statewide DI                                           VSP Statewide DI
          Searches with American Indian Drivers                            Searches with Asian Drivers




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Geographic Presentation of VSP Driver Arrest DIs
The maps in Figure 8 illustrate which driver racial/ethnic groups had moderate or no overrepresentation for
driver arrests conducted by VSP. Black and Hispanic drivers were moderately overrepresented in driver
arrests conducted by VSP. White, American Indian, and Asian drivers were underrepresented in VSP driver
arrests. No driver racial/ethnic group had high overrepresentation in driver arrests conducted by VSP.
                                                   Figure 8
                         VSP Statewide Maps for Driver Arrests by Driver Race/Ethnicity

                                                                                   VSP Statewide DI
                 No driver arrests                                               White Driver Arrests



            -
            D
                 High overrepresentation (DI 2.0 or higher)
                 Moderate overrepresentation (DI 1.1 to 1.9)
                 No overrepresentation (DI up to 1.0)




                       VSP Statewide DI                                       VSP Statewide DI
                      Black Driver Arrests                            Hispanic (any race) Driver Arrests




                      VSP Statewide DI                                               VSP Statewide DI
               American Indian Driver Arrests                                       Asian Driver Arrests




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City and County Agency Traffic Stop Analysis
These 152 local agencies serve cities and counties. Racial/ethnic data for the resident population age 15+
was available for localities served by these agencies. A DI was calculated for each group of drivers who were
stopped, and for the events following the stop (i.e., reason for stop, whether a search was conducted, and
outcomes of the stop).

Driver Stop Dis f or City and County A gencies
Figure 9 shows the percentages of the 152 LEAs w ith driver stop Dis indicating high overrepresentation
(DI of 2.0 or higher), moderate overrepresentation (DI of 1.1 to 1.9), or no overrepresentation (DI of 1.0 or
less) for minority drivers stopped when compared to the m inority resident driving-age popu lation.


                                                          Figure 9
                    Percent of Agencies with High, Moderate, or No Overrepresentation in Driver Stops
                        by Driver Race/Ethnicity, 152 Virginia Agencies Serving Cities and Counties

                                         ■ Black         Hispanic   ■ White   □ Asian    ■ American Indian



                                                            30.3%
                                                 21.1%
            High    ~   .7%
                                     11.8%
                              7.9%



                                                                                 49.3%
                                                                    37 5%
        Moderate                     .5%
                                       13.8%
                                     .5%



                                             17.1%
                                                               33.6%
           None                                                                                                     88.8%
                                                                                        I 55 3%
                                                                    I 39.5%
                   0%         10%        20%             30%        40%       50%         60%       70%      80%   90%      100%



The percentages seen in Figure 9 show that, across all 152 agencies:

    •   30.3% of city and county agencies had high overrepresentation in stops of Black drivers, 21.1% of
        agencies had the same for Hispanic drivers, 7.9% of agencies had the same for American Indian
        drivers, and 11.8% had the same for Asian drivers. Less than 1% of agencies had high
        overrepresentation for White drivers.

    •   49.3% of city and county agencies had moderate overrepresentation in stops of Black drivers, and
        37.5% of agencies had the same for Hispanic drivers. 10.5% had the same for American Indian
        drivers and 13.8% of agencies had the same for Asian drivers. 10 .5% of agencies had the same for
        White drivers.

    •   On ly 17.1% of city and county agencies had no overrepresentation in stops of Black drivers, and
        only 33.6% of agencies had the same for Hispanic drivers. 39.5% of agencies had the same for
        American Indian drivers, and 55 .3% of agencies had the same for Asian drivers. On the other hand,
        nearly 90% of agencies had the same for White drivers.




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City and county agencies with zero stops, and therefore DIs of zero, are not shown in Figure 9. 3.3% of these
agencies (5) did not stop any Black drivers, 7.9% of these agencies (12) did not stop any Hispanic drivers,
42.1% (64) of the agencies did not stop any American Indian drivers, and 19.1% (29) of these agencies did
not stop any Asian drivers. White drivers were stopped by all 152 city and county agencies.

Driver Stop DIs for Individual Agencies
Tables 15a–15d show, for each of the 152 agencies serving cities and counties, the driver stop DI calculated
for each driver racial/ethnic group (that is, how many drivers in each group were stopped relative to the
group’s driving-age representation in the resident population of the locality served by the agency). The
number of stops made by each agency for drivers in each group is also shown. The numbers of stops
reported by each agency will vary due to traffic volumes in each area, and because different agencies
reported data for different periods of time for the nine-month period July 1, 2020 – March 31, 2021 (that is,
some agencies with high traffic volumes may have reported fewer stops than agencies with lower traffic
volumes because the high-volume agency may have reported only six months of data). The number of days
of data reported for each agency (“Number of Traffic Days”) is also shown in the tables (273 days = July 1,
2020 – March 31, 2021).
Tables are shown for Black, Hispanic, American Indian, and Asian drivers. No DI table is shown for White
drivers because the number of agencies with DIs indicating that White drivers were overrepresented was
very small (these DIs can be seen in the detailed agency-level tables in Appendix B).
DIs for the joint agencies York-Poquoson Sheriff’s Office and Williamsburg-James City County Sheriff’s Office
were calculated based on the driving-age resident population figures for the joint localities served by each
Sheriff’s Office.
Several cautions should be kept in mind when examining the DIs for each agency in the tables that follow:
       Driver stop DIs calculated for agencies with a very small resident population and very small numbers
        of stops are suspect due to the small numbers involved and should not be considered meaningful.
        This applies to DIs for all racial/ethnic groups. See the previous section Statewide Disparity Index
        (DI) for more explanation.
       As discussed in the section Statewide Disparity Index (DI), driver stop DIs were calculated using each
        racial/ethnic group’s percentage of the resident driving-age population of the area served by the
        agency. The resident population percentages do not necessarily represent the percentages of
        drivers in the area. For example, the Carroll County Sheriff’s Office had a high Black driver stop DI of
        21.7. An examination of the stops for this agency showed that the vast majority of the stops were
        made on an interstate highway that runs through Carroll County; therefore, the number of Black
        drivers subject to being stopped by this agency was much higher than the relatively small
        percentage of Black residents in the county’s resident population. Black drivers were less than 1% of
        the county’s population.




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                     Table 15a. Agency Driver Stop Disparit y Indexes (Dis) for Black Drivers
                                   152 Agencies Serving Cit ies and Count ies
 Agency                                             Black Driver DI   Number of Stops       Number of Traffic Days
 Accomack County Sheriff's Office                          1.8                172                   270
 Albemarle County Police Department                          2                475                   273
 Albemarle County Sheriff's Office                         1.4                   5                  256
 Alexand ria City Sheriff's Office                         0.7                   4                  259
 Alexandria Police Department                              1.7              3,964                   273
 Alleghany Count y Sheriff's Office                        2.3                  74                  273
 Amelia County Sheriff's Office                            1.8                189                   272
 Amherst County Sheriff's Office                           1.5                582                   270
 Appomattox County Sheriff's Office                        1.4                240                   271
 Arlington County Police Department                        3.3              3,777                   183
 Arlington County Sheriff's Office                         2.3                  27                  257
 Augusta County Sheriff's Office                           1.9                342                   273
 Bat h Count y Sheriff's Office                              2                   7                  264
 Bedford Count y Sheriff's Office                          2.7                452                   273
 Bland County Sheriff's Office                             3.4                218                   272
 Botet ourt County Sheriff's Office                        3.7                579                   273
 Bristol Police Department                                 1.2                  99                  142
 Brunswick Count y Sheriff's Office                        0.9              6,505                   273
 Buchanan County Sheriff's Office                          0.2                   3                  273
 Buckingham Count y Sheriff's Office                       0.9                  65                  270
 Buena Vista Police Department                               2                  64                  175
 Campbell County Sheriff's Office                          1.8                201                   248
 Caroline County Sheriffs Office                           1.4                335                   270
 Carroll County Sheriff's Office                          21.7                674                   265
 Charlotte Count y Sheriff's Office                        1.3                333                   273
 Charlottesville Police Depart ment                        1.6                272                   273
 Chesapeake Cit y Sheriff's Office                         1.4                  18                  258
 Chesapeake Police Department                              1.7              9,760                   273
 Chest erfield County Police Department                    1.8             11,455                   273
 Chest erfield County Sheriff's Office                     1.7                  39                  204
 Clarke County Sheriff's Office                            2.4                  68                  273
 Colonial Heights Police Department                        3.8              3,722                   273
 Covington Police Department                               0.7                  13                  181
 Craig County Sheriff's Office                             2.3                   8                  273
 Culpeper County Sheriff's Office                          1.3                 44                   268
 Cumberland County Sheriff's Office                        0.7                  96                  271




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                       Table 15a. Agency Driver Stop Disparity Indexes (Dis) for Black Drivers
                               152 Agencies Serving Cities and Counties (Continued)
 Agency                                                Black Driver DI    Number of Stops      Number of Traffic Days
 Danville Police Department                                   1.2               2,197                  273
 Dickenson County Sheriff's Office                            1.6                    3                 272
 Dinwiddie County Sheriff's Office                            1.4               2,146                  273
 Emporia Cit y Sheriff's Office                               0.5                 268                  272
 Emporia Police Department                                    0.7               2,799                  253
 Essex County Sheriff's Office                                0.8                   88                 170
 Fairfax City Police                                          2.4                 185                  273
 Fairfax County Police Department                             2.2               3,654                  273
 Fairfax County Sheriff's Office                              2.1                   34                 273
 Falls Church City Sheriff's Office                             0                    0                 124
 Falls Church Police Department                               3.5                 107                  242
 Fauquier County Fire Marshal's Office                          0                    0                    1
 Fauquier County Sheriff's Office                             1.9                 922                  272
 Floyd County Sheriff's Office                                  2                   51                 273
 Fluvanna County Sheriff's Office                             1.6                 344                  272
 Franklin County Sheriff's Office                               2                 126                  272
 Franklin Police Department                                   1.3                 649                  241
 Frederick County Sheriff's Office                            2.5                 654                  273
 Fredericksburg Cit y Sheriff's Office                        1.8                    8                 230
 Fredericksburg Police Department                             1.7                 114                    57
 Galax Police Department                                      0.9                   61                 273
 Giles County Sheriff's Office                                3.4                   27                 269
 Gloucester County Sheriff's Office                           2.3                 284                  273
 Goochland County Sheriff's Office                            1.4                 326                  272
 Grayson County Sheriff's Office                              0.5                   12                 272
 Greene County Sheriff's Office                                 2                 118                  267
 Greensville County Sheriff's Office                          0.5               2,017                  273
 Halifax County Sheriff's Office                              1.2                   93                 273
 Hampton Police Division                                      1.3               4,349                  273
 Hanover County Sheriff's Office                              3.7               4,855                  273
 Harrisonburg Police Department                               1.7                 189                  182
 Henrico Police Department                                    1.5               6,090                  183
 Henry County Sheriff's Office                                1.1                 455                  273
 Highland County Sheriff's Office                             2.1                    2                 242
 Hopew ell City Sheriff's Office                              1.1               1,509                  273
 Hopew ell Police Department                                  1.3                 509                  182
 Isle Of W ight County Sheriff's Office                       2.3                 567                  182
 James Cit y County Police Department                         2.4                 810                  273
 King And Queen County Sheriff's Office                         1                 487                  273




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                        Table 15a. Agency Driver Stop Disparity Indexes (Dis) for Black Drivers
                                152 Agencies Serving Cities and Counties (Continued)
 Agency                                                Black Driver DI    Number of Stops      Number of Traffic Days
 King George County Sheriff's Office                          1.8                 637                  273
 King W ill iam Sheriff's Office                              1.4                 238                  273
 Lancaster County Sheriff's Office                            1.5                 170                  272
 Lee County Sheriff's Office                                    0                    0                   84
 Lexington Police Department                                  0.8                   57                 272
 Loudoun County Sheriff's Office                              1.6               1,458                  273
 Louisa County Sheriff's Office                               1.4                 270                  273
 Lunenburg County Sheriffs Office                             1.1                   64                 268
 Lynchburg Cit y Sheriff's Office                             2.5                    2                   47
 Lynchburg Police Department                                  1.5               1,072                  273
 Madison County Sheriff's Office                              1.9                 114                  273
 Manassas Park Police Department                              1.1                 555                  273
 Manassas Police Department                                   1.4                 711                  273
 Martinsville Police Department                                 1               1,341                  273
 Mathews County Sheriff's Office                              1.5                   79                 273
 Mecklenburg Sheriff's Office                                 1.3                 730                  183
 M iddlesex County Sheriff's Office                           1.1                   92                 269
 Montgomery County Sheriff's Office                           2.9                 254                  273
 Nelson County Sheriff's Office                               1.4                 190                  273
 New Kent Sheriff's Office                                    1.9                 791                  273
 Newport News Cit y Sheriff's Office                            1                    3                 218
 Newport News Police Department                               1.5               6,043                  181
 Norfolk Police Department                                    1.6               2,256                  153
 Northampton County Sheriff's Office                          0.8                 446                  202
 Northumberland County Sheriff's Office                       1.3                   81                   91
 Norton Police Department                                     0.9                   37                 273
 Nottow ay County Sheriff's Office                              1                  49                  264
 Orange County Sheriff's Office                               1.7                 345                  273
 Page County Sheriff's Office                                 1.3                   19                 273
 Patrick County Sheriff's Office                              2.1                   93                 257
 Petersburg Bu reau Of Police                                   1                 681                  213
 Petersburg Cit y Sheriff's Office                            0.7                   33                 239
 Pittsylvania County Sheriff' s Office                        1.4                 123                  273
 Poquoson Police Department                                  11.4                  45                  181
 Portsmouth City Sheriff's Office                             1.2                   32                   80
 Portsmouth Police Department                                 1.3               1,558                  273
 Pow hatan Sheriff's Office                                     2                 407                  273
 Prince Edward County Sheriff's Department                    1.1                 287                  174
 Prince George County Police Department                       1.6               1,515                  273




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                       Table 15a. Agency Driver Stop Disparity Indexes (Dis) for Black Drivers
                               152 Agencies Serving Cities and Counties (Continued)
 Agency                                                Black Driver DI    Number of Stops      Number of Traffic Days
 Prince William County Police Department                      1.3               6,050                  273
 Prince William County Sheriff's Office                       1.4                   28                 273
 Pulaski County Sheriff's Office                              1.9                 286                  272
 Radford City Police Department                                 2                 314                  272
 Rappahannock County Sheriff's Office                         1.6                 132                  273
 Richmond County Sheriff's Office                             1.4                   65                 175
 Richmond Police Department                                   1.6               1,991                  238
 Roanoke City Police Department                               1.5               2,071                  272
 Roanoke County Police Department                             2.3                   13                   11
 Rockbridge County Sheriff's Office                           4.7                 418                  273
 Rockingham County Sheriff's Office                           4.2                 170                  181
 Russell County Sheriffs Office                                 2                    3                 267
 Salem Police Department                                      2.4                 400                  273
 Scott County Sheriff's Office                                1.9                    6                 171
 Shenandoah County Sheriff's Office                           2.2                   36                 212
 Smyth County Sheriff's Office                                5.4                 546                  183
 Southampton County Sheriff's Office                          1.5                 649                  271
 Spotsylvania County Sheriff's Office                         1.6               1,143                  273
 Stafford County Sheriff's Office                             1.6               2,418                  273
 Staunton Police Department                                   1.2                   77                 158
 Suffolk City Sheriff's Office                                0.8                    1                 126
 Suffolk Police Department                                    1.4               3,942                  273
 Surry County Sheriff's Office                                  1                 145                  150
 Sussex County Sheriff's Office                               0.7               1,809                  273
 Tazewell County Sheriff's Office                             0.7                   24                 268
 Virginia Beach City Sheriff's Office                         2.6                    3                   57
 Virginia Beach Police Department                               2               5,981                  273
 Warren County Sheriff's Office                               1.8                 310                  273
 Washington County Sheriff's Office                           6.6                 975                  272
 Waynesboro Police Department                                 1.3                   56                 135
 Westmoreland County Sheriff's Office                         1.2                 512                  273
 Williamsburg Police Department                                 2                 891                  273
 Williamsburg-James City County Sheriff's Office                0                    0                   35
 Winchester City Sheriff's Office                               0                    0                 107
 Winchester Police Department                                 1.4                 442                  273
 Wise County Sheriff's Office                                 0.8                  41                  273
 Wythe County Sheriff's Office                                4.7                 596                  257
 York-Poquoson Sheriff's Office                               2.2                 545                  181




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                Table 15b. Agency Driver St op Disparit y Indexes (Dis) for Hispanic (any race) Drivers
                                    152 Agencies Serving Cit ies and Counties
 Agency                                            Hispanic Driver DI    Number of Stops      Number of Traffic Days
 Accomack County Sheriff's Office                           1.2                  28                       270
 Albemarle County Police Department                         1.7                 211                       273
 Albemarle County Sheriff's Office                          0.6                    1                      256
 Alexandria City Sheriff's Office                           1.3                    5                      259
 Alexandria Police Department                               1.2               1,919                       273
 Alleghany County Sheriff's Office                          3.5                  34                       273
 Amelia County Sheriff's Office                             2.4                  32                       272
 Amherst County Sheriff's Office                            2.3                  99                       270
 Appomattox County Sheriff's Office                           1                  18                       271
 Arlington County Police Department                         1.3               2,324                       183
 Arlington County Sheriff's Office                          1.3                  24                       257
 Augusta County Sheriff's Office                            1.5                 145                       273
 Bat h Cou nty Sheriff's Office                               0                    0                      264
 Bedford Cou nty Sheriff's Office                           1.2                  56                       273
 Bland County Sheriff's Office                              2.4                  33                       272
 Botet ourt County Sheriff's Office                         3.5                 239                       273
 Bristol Police Department                                  1.2                  28                       142
 Brunswick Cou nty Sheriff's Office                         3.7               1,054                       273
 Buchanan County Sheriff's Office                             0                    0                      273
 Buckingham County Sheriff's Office                         2.2                  10                       270
 Buena Vista Police Department                              0.4                    5                      175
 Campbell County Sheriff's Office                           1.3                  23                       248
 Caroline County Sheriff's Office                           1.9                  77                       270
 Carroll County Sheriff's Office                            1.8                 191                       265
 Charlotte Cou nty Sheriff's Office                         3.5                  56                       273
 Charlottesville Police Depart ment                         1.4                  69                       273
 Chesapeake Cit y Sheriff's Office                            0                    0                      258
 Chesapeake Police Department                               0.7                 737                       273
 Chest erfield County Police Department                     1.5               3,135                       273
 Chest erfield County Sheriff's Office                      0.7                    5                      204
 Clarke Cou nty Sheriff's Office                            2.4                  75                       273
 Colonial Heights Police Department                         0.9                 314                       273
 Covington Police Department                                0.4                    1                      181
 Craig County Sheriff's Office                              1.2                    8                      273
 Culpeper County Sheriff's Office                           1.4                  32                       268
 Cumberland County Sheriff's Office                         1.2                  15                       271




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                Table 15b. Agency Driver St op Disparit y Indexes (Dis) for Hispanic (any race) Drivers
                              152 Agencies Serving Cit ies and Count ies (Continued)
 Agency                                            Hispanic Driver DI    Number of Stops      Number of Traffic Days
 Danville Police Department                                   1                 139                       273
 Dickenson County Sheriff's Office                          0.7                    2                      272
 Dinwiddie County Sheriff's Office                          2.2                 333                       273
 Emporia Cit y Sheriff's Office                               2                  98                       272
 Emporia Police Department                                  0.4                 136                       253
 Essex County Sheriff's Office                              2.5                  27                       170
 Fairfax City Police                                          1                 215                       273
 Fairfax County Police Department                           1.6               3,900                       273
 Fairfax County Sheriff's Office                            1.1                  27                       273
 Falls Church City Sheriff's Office                           0                    0                      124
 Falls Church Police Department                             2.4                 147                       242
 Fauquier County Fire Marsha l's Office                       0                    0                        1
 Fauquier County Sheriff's Office                           1.8                 881                       272
 Floyd County Sheriff's Office                              1.3                  35                       273
 Fluvanna County Sheriff's Office                           1.6                  71                       272
 Franklin County Sheriff's Office                           2.2                  38                       272
 Franklin Police Department                                 0.1                    2                      241
 Frederick County Sheriff's Office                          1.2                 523                       273
 Fredericksburg Cit y Sheriff's Office                      0.6                    1                      230
 Fredericksburg Police Department                           1.1                  28                       57
 Galax Police Department                                    0.8                  96                       273
 Giles County Sheriff's Office                              1.5                  11                       269
 Gloucester County Sheriff's Office                         0.8                  39                       273
 Goochland County Sheriff's Office                            2                  72                       272
 Grayson County Sheriff's Office                              3                  31                       272
 Greene County Sheriff's Office                             1.8                  70                       267
 Greensville County Sheriff's Office                        4.1                 565                       273
 Halifax County Sheriff's Office                            0.7                    3                      273
 Hampton Police Division                                    0.5                 188                       273
 Hanover County Sheriff's Office                            1.8                 671                       273
 Harrisonburg Police Department                             1.3                 312                       182
 Henrico Police Department                                    1                 731                       183
 Henry County Sheriff's Office                              1.2                  96                       273
 Highland County Sheriff's Office                           2.5                    2                      242
 Hopew ell City Sheriff's Office                            1.2                 300                       273
 Hopew ell Police Department                                0.6                  45                       182
 Isle Of W ight County Sheriff's Office                     0.6                  18                       182
 James Cit y County Police Department                       1.3                 171                       273
 King And Queen County Sheriff's Office                     1.3                  61                       273



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                Table 15b. Agency Driver St op Disparit y Indexes (Dis) for Hispanic (any race) Drivers
                              152 Agencies Serving Cit ies and Count ies (Continued)
 Agency                                            Hispanic Driver DI    Number of Stops      Number of Traffic Days
 King George County Sheriff's Office                        1.2                 133                       273
 King W ill iam Sheriff's Office                            1.1                  26                       273
 Lancaster County Sheriff's Office                            1                    8                      272
 Lee County Sheriff' s Office                                 0                    0                      84
 Lexington Police Department                                0.6                  14                       272
 Loudoun County Sheriff's Office                            1.6               2,324                       273
 Louisa County Sheriff's Office                             1.7                  58                       273
 Lunenburg County Sheriffs Office                           1.8                  13                       268
 Lynchburg Cit y Sheriff's Office                             0                    0                      47
 Lynchburg Police Department                                0.4                  41                       273
 Madison County Sheriff's Office                            3.6                  67                       273
 Manassas Park Police Department                            1.2               1,499                       273
 Manassas Police Department                                   1               1, 214                      273
 Martinsville Police Department                             1.3                 189                       273
 Mathews County Sheriff's Office                            0.4                    5                      273
 Mecklenburg Sheriff's Office                               3.4                 152                       183
 M iddlesex County Sheriff's Office                         1.8                  21                       269
 Montgomery County Sheriff's Office                         1.2                  76                       273
 Nelson County Sheriff's Office                             1.8                  74                       273
 New Kent Sheriff's Office                                  1.5                 136                       273
 New port News Cit y Sheriff's Office                         0                    0                      218
 New port News Police Department                            0.3                 222                       181
 Norfolk Police Department                                  0.6                 170                       153
 Northampton County Sheriff' s Office                         1                 127                       202
 Northumberland County Sheriff's Office                     0.8                    7                      91
 Norton Police Department                                   0.2                    6                      273
 Nottow ay County Sheriff's Office                          1.2                    6                      264
 Orange County Sheriff's Office                             2.1                 153                       273
 Page County Sheriff's Office                               1.7                  18                       273
 Patrick County Sheriff's Office                            1.7                  36                       257
 Petersburg Bu reau Of Police                               0.1                    5                      213
 Petersburg Cit y Sheriff's Office                            0                    0                      239
 Pittsylvania County Sheriff' s Office                      1.3                  12                       273
 Poquoson Police Department                                 1.2                  10                       181
 Portsmouth City Sheriff's Office                           0.5                    1                      80
 Portsmouth Police Department                               0.6                  55                       273
 Pow hatan Sheriff's Office                                 2.1                  85                       273
 Prince Edward County Sheriff's Department                    2                  44                       174
 Prince George County Police Department                     0.7                 155                       273



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                Table 15b. Agency Driver St op Disparit y Indexes (Dis) for Hispanic (any race) Drivers
                              152 Agencies Serving Cit ies and Count ies (Continued)
 Agency                                            Hispanic Driver DI    Number of Stops      Number of Traffic Days
 Prince William County Police Department                    1.2               5,879                       273
 Prince William County Sheriff's Office                       1                  21                       273
 Pulaski County Sheriff's Office                              3                 125                       272
 Radford City Police Department                               1                  43                       272
 Rappahannock County Sheriff's Office                       1.7                 134                       273
 Richmond County Sheriff's Office                           0.4                    4                      175
 Richmond Police Department                                   1                 162                       238
 Roanoke City Police Department                             0.9                 248                       272
 Roanoke County Police Department                           2.5                    6                       11
 Rockbridge County Sheriff's Office                         3.4                 150                       273
 Rockingham County Sheriff's Office                         1.7                 180                       181
 Russell County Sheriffs Office                               0                    0                      267
 Salem Police Department                                    0 .9                 62                       273
 Scott County Sheriff's Office                              0.3                    1                      171
 Shenandoah County Sheriff's Office                         1.7                  60                       212
 Smyth County Sheriff's Office                              7.5                 475                       183
 Southampton County Sheriff's Office                        2.6                  56                       271
 Spotsylvania County Sheriff's Office                         1                 375                       273
 Stafford County Sheriff's Office                           1.1               1,047                       273
 Staunton Police Department                                 1.7                  27                       158
 Suffolk City Sheriff's Office                                0                    0                      126
 Suffolk Police Department                                  0.7                 189                       273
 Surry County Sheriff's Office                              2.2                  16                       150
 Sussex County Sheriff's Office                             4.8                 641                       273
 Tazewell County Sheriff's Office                             1                    9                      268
 Virginia Beach City Sheriff's Office                         0                    0                      57
 Virginia Beach Police Department                           0.6                 729                       273
 Warren County Sheriff's Office                             1.6                 260                       273
 Washington County Sheriff's Office                         0 .9                121                       272
 Waynesboro Police Department                               0.8                  20                       135
 Westmoreland County Sheriff's Office                       1.2                 113                       273
 Williamsburg Police Department                             1.1                 193                       273
 Williamsburg-James City County
 Sheriff's Office                                           6.2                    1                      35
 Winchester City Sheriff's Office                             1                    3                      107
 Winchester Police Department                               0 .9                375                       273
 Wise County Sheriff's Office                               0.7                    6                      273
 Wythe County Sheriff's Office                              6.3                 275                       257
 York-Poquoson Sheriff's Office                             0.9                 100                       181




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                 Table 15c. Agency Driver Stop Disparity Indexes (Dis) for American Indian Drivers
                                    152 Agencies Serving Cities and Counties
                                                   American Indian
 Agency                                              Driver DI           Number of Stops      Number of Traffic Days
 Accomack County Sheriff's Office                             0                    0                    270
 Albemarle County Police Department                         0.3                    1                    273
 Albemarle County Sheriff's Office                            0                    0                    256
 Alexand ria City Sheriff's Office                            0                    0                    259
 Alexandria Police Department                               1.8                  46                     273
 Alleghany County Sheriff's Office                            0                    0                    273
 Amelia County Sheriff's Office                             0.5                    1                    272
 Amherst County Sheriff's Office                            0.5                    8                    270
 Appomattox County Sheriff's Office                         0.5                    1                    271
 Arlington County Police Department                         0.6                  17                     183
 Arlington County Sheriff's Office                            0                    0                    257
 Augusta County Sheriff's Office                              1                    7                    273
 Bath County Sheriff's Office                                 0                    0                    264
 Bedford County Sheriff's Office                              0                    0                    273
 Bland County Sheriff's Office                              0.9                    2                    272
 Botetourt County Sheriff's Office                          1.9                  19                     273
 Bristol Police Department                                    0                    0                    142
 Brunswick County Sheriff's Office                          2.1                  83                     273
 Buchanan County Sheriff's Office                             0                    0                    273
 Buckingham County Sheriff's Office                           0                    0                    270
 Buena Vista Police Department                                0                    0                    175
 Campbell County Sheriff's Office                           0.4                    1                    248
 Caroline County Sheriffs Office                              0                    0                    270
 Carroll County Sheriff's Office                            1.9                  11                     265
 Charlotte County Sheriff's Office                          0.4                    1                    273
 Charlottesville Police Department                            0                    0                    273
 Chesapeake City Sheriff's Office                             0                    0                    258
 Chesapeake Police Department                               0.2                  13                     273
 Chesterfield County Police Department                      0.4                  28                     273
 Chesterfield County Sheriff's Office                         0                    0                    204
 Clarke County Sheriff's Office                               0                    0                    273
 Colonial Heights Police Department                         0.1                    2                    273
 Covington Police Department                                  0                    0                    181
 Craig County Sheriff's Office                              2.1                    3                    273
 Culpeper County Sheriff's Office                             0                    0                    268
 Cumberland County Sheriff's Office                           0                    0                    271




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                  Table 15c. Agency Driver St op Disparit y Indexes (Dis) for American Indian Drivers
                               152 Agencies Serving Cit ies and Counties {Continued)
                                                   American Indian
 Agency                                              Driver DI           Number of Stops      Number of Traffic Days
 Danville Police Department                                 0.2                    2                    273
 Dickenson County Sheriff's Office                            0                    0                    272
 Dinwiddie County Sheriff's Office                          2.4                  35                     273
 Emporia Cit y Sheriff's Office                               0                    0                    272
 Emporia Police Depart ment                                 1.2                  16                     253
 Essex County Sheriff's Office                                0                    0                    170
 Fairfax Cit y Police                                       1.3                    5                    273
 Fairfax County Police Department                           1.2                  36                     273
 Fairfax County Sheriff's Office                              0                    0                    273
 Falls Church Cit y Sheriff's Office                       94.6                    1                    124
 Falls Church Police Department                             0.5                    1                    242
 Fauquier County Fire Marshal's Office                        0                    0                      0
 Fauquier County Sheriff's Office                           0.1                    2                    272
 Floyd County Sheriff's Office                              0.5                    1                    273
 Fluvanna County Sheriff's Office                           0.8                    3                    272
 Franklin County Sheriff's Office                           1.1                    2                    272
 Franklin Police Department                                   0                    0                    241
 Frederick County Sheriff's Office                          0.4                    6                    273
 Fredericksburg City Sheriff's Office                         0                    0                    230
 Fredericksburg Police Department                           3.8                    4                     57
 Galax Police Department                                      0                    0                    273
 Giles County Sheriff's Office                              1.3                    1                    269
 Gloucester County Sheriff's Office                         0.1                    1                    273
 Goochland County Sheriff's Office                          0.2                    1                    272
 Grayson County Sheriff's Office                              0                    0                    272
 Greene County Sheriff's Office                             0.4                    1                    267
 Greensville County Sheriff's Office                        0.6                    9                    273
 Halifax County Sheriff's Office                              0                    0                    273
 Hampton Police Division                                      0                    0                    273
 Hanover County Sheriff's Office                            0.9                  49                     273
 Harrisonburg Police Department                             1.8                    6                    182
 Henrico Police Department                                  0.1                    4                    183
 Henry County Sheriff's Office                                0                    0                    273
 Highland Cou nty Sheriff's Office                            0                    0                    242
 Hopewell City Sheriff's Office                             0.2                    3                    273
 Hopewell Police Department                                   0                    0                    182
 Isle Of W ight County Sheriff's Office                     0.3                    1                    182
 James Cit y County Police Department                       0.5                    4                    273
 King And Queen County Sheriff's Office                     0.1                    4                    273
 King George County Sheriff's Office                        0.2                    2                    273



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                 Table 15c. Agency Driver Stop Disparity Indexes (Dis) for American Indian Drivers
                              152 Agencies Serving Cities and Counties {Continued)
                                                   American Indian
 Agency                                              Driver DI           Number of Stops      Number of Traffic Days
 King Will iam Sheriff's Office                             0.3                    4                    273
 Lancaster County Sheriff's Office                            0                    0                    272
 Lee County Sheriff's Office                                  0                    0                     84
 Lexington Police Department                                  1                    2                    272
 Loudoun County Sheriff's Office                            9.8                 202                     273
 Louisa County Sheriff's Office                               0                    0                    273
 Lunenburg County Sheriffs Office                             0                    0                    268
 Lynchburg City Sheriff's Office                              0                    0                     47
 Lynchburg Police Department                                0.4                    4                    273
 Madison County Sheriff's Office                            2.9                    4                    273
 Manassas Park Police Department                            2.5                  25                     273
 Manassas Police Department                                 2.1                  18                     273
 Martinsville Police Department                             0.1                    1                    273
 Mathews County Sheriff's Office                            0.6                    1                    273
 Mecklenburg Sheriff's Office                               1.1                    6                    183
 M iddlesex County Sheriff's Office                           0                    0                    269
 Montgomery County Sheriff's Office                         0.7                    3                    273
 Nelson County Sheriff's Office                             0.7                    3                    273
 New Kent Sheriff's Office                                  0.2                    6                    273
 Newport News City Sheriff's Office                           0                    0                    218
 Newport News Police Department                             0.1                    4                    181
 Norfolk Police Department                                  0.4                    7                    153
 Northampton County Sheriff's Office                          0                    0                    202
 Northumberland County Sheriff's Office                       0                    0                     91
 Norton Police Department                                     0                    0                    273
 Nottoway County Sheriff's Office                             0                    0                    264
 Orange County Sheriff's Office                             1.1                    6                    273
 Page County Sheriff's Office                               1.3                    2                    273
 Patrick County Sheriff's Office                              0                    0                    257
 Petersburg Bu reau Of Police                               0.8                    3                    213
 Petersburg City Sheriff's Office                             0                    0                    239
 Pittsylvania County Sheriff' s Office                        2                    2                    273
 Poquoson Police Department                                   0                    0                    181
 Portsmouth City Sheriff's Office                             0                    0                     80
 Portsmouth Police Department                               0.2                    2                    273
 Powhatan Sheriff's Office                                  0.5                    4                    273
 Prince Edward County Sheriff's Department                  1.3                    3                    174
 Prince George County Police Department                     0.1                    1                    273
 Prince William County Police Department                    0.2                  11                     273
 Prince William County Sheriff's Office                       0                    0                    273



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                 Table 15c. Agency Driver St op Disparit y Indexes (Dis) for American Indian Drivers
                              152 Agencies Serving Cit ies and Counties {Continued)
                                                   American Indian
 Agency                                              Driver DI           Number of Stops      Number of Traffic Days
 Pulaski County Sheriff's Office                              0                    0                    272
 Radford Cit y Police Depart ment                           0.5                    2                    272
 Rappahannock County Sheriff's Office                       2.4                  12                     273
 Richmond County Sheriff's Office                             0                    0                    175
 Richmond Police Department                                 0.7                    6                    238
 Roanoke City Police Department                             0.3                    3                    272
 Roanoke County Police Department                             0                    0                     11
 Rockbridge Cou nty Sheriff's Office                        0.3                    5                    273
 Rockingham County Sheriff's Office                           0                    0                    181
 Russell County Sheriffs Office                               0                    0                    267
 Salem Police Department                                    0.7                    4                    273
 Scott Cou nty Sheriff's Office                               0                    0                    171
 Shenandoah County Sheriff's Office                         1.4                    2                    212
 Smyth County Sheriff's Office                              1.6                  11                     183
 Southampton County Sheriff's Office                        0.9                    5                    271
 Spotsylvania Cou nty Sheriff's Office                      0.7                    9                    273
 Stafford County Sheriff's Office                           0.4                  13                     273
 Staunton Police Depart ment                                0.7                    1                    158
 Suffolk City Sheriff's Office                                0                    0                    126
 Suffolk Police Department                                  0.6                  13                     273
 Surry County Sheriff's Office                                0                    0                    150
 Sussex County Sheriff's Office                             0.8                  12                     273
 Tazewell County Sheriff's Office                             0                    0                    268
 Virginia Beach Cit y Sheriff's Office                        0                    0                     57
 Virginia Beach Police Depart ment                          1.3                  76                     273
 Warren County Sheriff's Office                             0.2                    3                    273
 Washington County Sheriff's Office                         0.2                    3                    272
 Waynesboro Police Depart ment                              0.9                    1                    135
 Westmoreland County Sheriff's Office                         0                    0                    273
 Williamsburg Police Department                             0.2                    2                    273
 Williamsburg-James Cit y County
 Sheriff's Office                                             0                    0                     35
 Winchester City Sheriff's Office                             0                    0                    107
 Winchester Police Depart ment                              0.2                    1                    273
 Wise County Sheriff's Office                                 0                    0                    273
 Wythe County Sheriff's Office                              3.2                  27                     257
 York-Poquoson Sheriff's Office                               0                    0                    181




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                       Table 15d. Agency Driver St op Disparit y Indexes (Dis) for Asian Drivers
                                     152 Agencies Serving Cities and Counties
 Agency                                             Asian Driver DI      Number of Stops      Number of Traffic Days
 Accomack County Sheriff's Office                             1                    3                    270
 Albemarle County Police Department                         0.3                  39                     273
 Albemarle County Sheriff's Office                            0                    0                    256
 Alexandria City Sheriff's Office                             1                    2                    259
 Alexandria Police Department                               0.6                 451                     273
 Alleghany County Sheriff's Office                          4.4                  11                     273
 Amelia County Sheriff's Office                             0.4                    1                    272
 Amherst County Sheriff's Office                              0                    0                    270
 Appomattox County Sheriff's Office                         1.3                    6                    271
 Arlington County Police Department                         0.5                 753                     183
 Arlington County Sheriff's Office                          0.9                  14                     257
 Augusta County Sheriff's Office                            0.5                  12                     273
 Bat h Count y Sheriff's Office                             5.5                    2                    264
 Bedford Count y Sheriff's Office                           0.6                  19                     273
 Bland County Sheriff's Office                              2.9                  25                     272
 Botet ourt County Sheriff's Office                         1.3                  45                     273
 Bristol Police Department                                  0.2                    2                    142
 Brunswick Count y Sheriff's Office                         1.4                 188                     273
 Buchanan County Sheriff's Office                             0                    0                    273
 Buckingham Count y Sheriff's Office                        2.1                    2                    270
 Buena Vista Police Department                              0.2                    1                    175
 Campbell County Sheriff's Office                           0.1                    1                    248
 Caroline County Sheriffs Office                            1.1                  11                     270
 Carroll County Sheriff's Office                              3                  25                     265
 Charlotte Count y Sheriff's Office                         3.6                  11                     273
 Charlottesville Police Depart ment                         0.3                  26                     273
 Chesapeake Cit y Sheriff's Office                            0                    0                    258
 Chesapeake Police Department                               0.3                 209                     273
 Chest erfield County Police Department                     0.4                 389                     273
 Chest erfield County Sheriff's Office                      0.3                    1                    204
 Clarke County Sheriff's Office                             1.1                  10                     273
 Colonial Heights Police Department                         0.2                  57                     273
 Covington Police Department                                  0                    0                    181
 Craig County Sheriff's Office                              2.7                    3                    273
 Culpeper County Sheriff's Office                           0.2                    1                    268
 Cumberland County Sheriff's Office                         0.8                    2                    271
 Danville Police Department                                 0.2                  10                     273




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                        Table 15d. Agency Driver St op Disparit y Indexes (Dis) for Asian Drivers
                                152 Agencies Serving Cit ies and Count ies {Continued)
 Agency                                              Asian Driver DI     Number of Stops      Number of Traffic Days
 Dickenson County Sheriff's Office                            0                    0                    272
 Dinwiddie County Sheriff's Office                          1.2                  49                     273
 Emporia Cit y Sheriff's Office                             0.7                    7                    272
 Emporia Police Department                                  0.8                  58                     253
 Essex County Sheriff's Office                                0                    0                    170
 Fairfax Cit y Police                                       0.8                 183                     273
 Fairfax County Police Department                           0.3                1112                     273
 Fairfax County Sheriff's Office                            0.4                  15                     273
 Falls Church Cit y Sheriff's Office                          0                    0                    124
 Falls Church Police Department                             0.8                  56                     242
 Fauquier County Fire Marshal's Office                        0                    0                      1
 Fauquier County Sheriff's Office                           1.2                 149                     272
 Floyd County Sheriff's Office                              0.2                    1                    273
 Fluvanna County Sheriff's Office                           0.8                  12                     272
 Franklin County Sheriff's Office                           0.5                    2                    272
 Franklin Police Department                                   0                    0                    241
 Frederick County Sheriff's Office                          0.5                  51                     273
 Fredericksburg Cit y Sheriff's Office                        0                    0                    230
 Fredericksburg Police Department                           0.1                    1                     57
 Galax Police Depart ment                                   0.3                    3                    273
 Giles County Sheriff's Office                              1.6                    5                    269
 Gloucester County Sheriff's Office                         0.3                    6                    273
 Goochland County Sheriff's Office                          0.8                  20                     272
 Grayson County Sheriff's Office                            1.5                    1                    272
 Greene County Sheriff's Office                             1.4                  22                     267
 Greensville County Sheriff's Office                        2.3                 107                     273
 Halifax County Sheriff's Office                              0                    0                    273
 Hampton Police Division                                    0.3                  64                     273
 Hanover County Sheriff's Office                            0.5                 139                     273
 Harrisonburg Police Department                             0.3                  18                     182
 Henrico Police Department                                  0.3                 353                     183
 Henry County Sheriff's Office                              0.1                    1                    273
 Highland Count y Sheriff's Office                          3.8                    2                    242
 Hopew ell City Sheriff's Office                            0.5                  29                     273
 Hopew ell Police Department                                0.1                    1                    182
 Isle Of W ight County Sheriff's Office                     0.2                    3                    182
 James Cit y County Police Department                       0.4                  35                     273
 King And Queen County Sheriff's Office                     0.9                    9                    273
 King George County Sheriff's Office                        0.6                  28                     273



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                       Table 15d. Agency Driver St op Disparit y Indexes (Dis) for Asian Drivers
                               152 Agencies Serving Cit ies and Count ies {Continued)
 Agency                                              Asian Driver DI     Number of Stops      Number of Traffic Days
 King W ill iam Sheriff's Office                            0.2                    2                    273
 Lancaster County Sheriff's Office                          0.9                    3                    272
 Lee Count y Sheriff's Office                                 0                    0                     84
 Lexington Police Department                                0.3                    8                    272
 Loudoun County Sheriff's Office                            0.3                 653                     273
 Louisa County Sheriff's Office                             1.2                  10                     273
 Lunenburg County Sheriffs Office                             0                    0                    268
 Lynchburg City Sheriff's Office                              0                    0                     47
 Lynchburg Police Department                                0.4                  28                     273
 Madison County Sheriff's Office                            7.3                  32                     273
 Manassas Park Police Department                            0.2                 103                     273
 Manassas Police Department                                 0.5                 116                     273
 Martinsville Police Department                             0.1                    4                    273
 Mathews County Sheriff's Office                            0.2                    1                    273
 Mecklenburg Sheriff's Office                                 2                  30                     183
 M iddlesex County Sheriff's Office                         0.7                    2                    269
 Montgomery County Sheriff's Office                         0.1                  14                     273
 Nelson County Sheriff's Office                             1.5                  13                     273
 New Kent Sheriff's Office                                  0.6                  27                     273
 Newport News City Sheriff's Office                           0                    0                    218
 Newport News Police Department                             0.2                  75                     181
 Norfolk Police Department                                  0.4                  57                     153
 Northampton County Sheriff's Office                        1.1                  19                     202
 Northumberland County Sheriff's Office                     3.3                    5                     91
 Norton Police Department                                   0.3                    3                    273
 Nottoway County Sheriff's Office                             0                    0                    264
 Orange County Sheriff's Office                             1.1                  21                     273
 Page County Sheriff's Office                               0.6                    2                    273
 Patrick County Sheriff's Office                              0                    0                    257
 Petersburg Bu reau Of Police                               0.3                    3                    213
 Petersburg City Sheriff's Office                           1.3                    1                    239
 Pittsylvania Count y Sheriff' s Office                     0.4                    1                    273
 Poquoson Police Department                                 0.3                    3                    181
 Portsmouth City Sheriff's Office                           2.2                    2                     80
 Portsmouth Police Department                               0.5                  21                     273
 Powhatan Sheriff's Office                                  2.1                  28                     273
 Prince Edward County Sheriff's Department                  0.6                    7                    174
 Prince George County Police Department                     0.1                    9                    273
 Prince William County Police Department                    0.4                 836                     273



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                       Table 15d. Agency Driver St op Disparit y Indexes (Dis) for Asian Drivers
                               152 Agencies Serving Cit ies and Count ies {Continued)
 Agency                                              Asian Driver DI     Number of Stops      Number of Traffic Days
 Prince William County Sheriff's Office                       0                    0                    273
 Pulaski County Sheriff's Office                            1.7                  29                     272
 Radford Cit y Police Department                            0.3                  12                     272
 Rappahannock County Sheriff's Office                         2                  42                     273
 Richmond County Sheriff's Office                             0                    0                    175
 Richmond Police Department                                 0.3                  19                     238
 Roanoke City Police Department                             0.2                  43                     272
 Roanoke County Police Depart ment                            0                    0                     11
 Rockbridge Count y Sheriff's Office                        1.3                  29                     273
 Rockingham County Sheriff's Office                         0.3                    5                    181
 Russell County Sheriffs Office                               0                    0                    267
 Salem Police Department                                    0.6                  27                     273
 Scott Count y Sheriff's Office                               0                    0                    171
 Shenandoah County Sheriff's Office                         0.2                    1                    212
 Smyth County Sheriff's Office                              3.3                  68                     183
 Southampton County Sheriff's Office                        0.9                    7                    271
 Spotsylvania Count y Sheriff's Office                      0.2                  25                     273
 Stafford County Sheriff's Office                           0.4                 133                     273
 Staunton Police Department                                   0                    0                    158
 Suffolk City Sheriff's Office                                0                    0                    126
 Suffolk Police Department                                  0.3                  43                     273
 Surry County Sheriff's Office                              1.1                    2                    150
 Sussex County Sheriff's Office                             2.2                  44                     273
 Tazewell County Sheriff's Office                             0                    0                    268
 Virginia Beach Cit y Sheriff's Office                        0                    0                     57
 Virginia Beach Police Department                           0.4                 517                     273
 Warren County Sheriff's Office                             0.6                  32                     273
 Washington County Sheriff's Office                         1.4                  72                     272
 Waynesboro Police Department                               0.5                    3                    135
 Westmoreland County Sheriff's Office                         0                    0                    273
 Williamsburg Police Department                             0.2                  51                     273
 Williamsburg-James Cit y County
 Sheriff's Office                                             0                    0                     35
 Winchest er City Sheriff's Office                          1.7                    1                    107
 Winchest er Police Department                              0.4                  30                     273
 Wise County Sheriff's Office                               1.1                    4                    273
 Wythe County Sheriff's Office                              2.1                  52                     257
 York-Poquoson Sheriff's Office                             0.4                  so                     181




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Analysis of Events Following Traffic Stops for City and County Agencies

Once a stop w as made, a DI could be calculated to examine racial/ethnic driver overrepresentation for
searches and arrests made follow ing the stop. These are discussed below.

Searches Conducted

Figure 10 below shows the percentages of the 152 LEAs w ith driver search Dis indicating high
overrepresentation (DI of 2.0 or higher), moderate overrepresentation (DI of 1.1 to 1.9), or no
overrepresentation (DI of 1.0 or less) for minorit y drivers w here a search occurred w hen compared to the
number of minorit y drivers stopped.



                                                           Figure 10
                        Percent of Agencies with High, Moderate, or No Overrepresentation in Searches
                          by Driver Race/Ethnicity, 152 Virginia Agencies Serving Cities and Counties

                                            ■ Black    Hispanic   ■ White   □ Asian    ■ American Indian



                    -             8.5%
                                    10.5%
            High




                                                                                      53.3%
                                                  22.4%
        Moderate    ~ 12.s%
                           3.3%
                        0.7%



                                               19.7%
                                                          30.3%
                                                                    - - - - - - - - - - - 76.3%
           None ; -~ - - - - 'j 13.2%
                          2.6%



                   0%                       20%                   40%                    60%               80%   100%



Figure 10 show s the follow ing:

    •    Black and Hispanic drivers predominate w hen there w as high or moderate overrepresentation for
         searches, and White drivers predominate w hen there w as no overrepresentation for searches. Black
         and Hispanic drivers had consistently higher search Dis than White drivers.

             8.5% of cit y and county agencies had high overrepresentation for searches involving Black
             drivers, 10.5% of agencies had the same for Hispanic drivers, 3.9% of agencies had the same for
             American Indian drivers, and 5.3% had the same for Asian drivers. Less than 1% of agencies had
             the same for White drivers.

             53.3% of city and county agencies had moderate overrepresentation for searches involving
             Black drivers, and 22.3% of agencies had the same for Hispanic drivers. Less than 1% of agencies
             had the same for American Indian drivers, and 3.3% of agencies had the same for Asian drivers.
             12.5% of agencies the same for White drivers.




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            19.7% of city and county agencies had no overrepresentation for searches involving Black
            drivers, 30.3% of agencies had the same for Hispanic drivers, 2.6% of agencies had the same for
            American Indian drivers, and 13.2% of agencies had the same for Asian drivers. By comparison,
            76.3% of agencies had the same for White drivers.

City and county agencies with zero searches, and therefore search Dis of zero, are not shown in Figure 10
above. 10.5% of city and county agencies (16) reported no searches involving White drivers, 18.4% agencies
(28) reported none involving Black drivers, 36.2% of agencies (56) reported none involving Hispanic drivers,
92.7% of agencies (141) reported none involving American Indian drivers, and 73.3% (119) reported no
searches involving Asian drivers.

Driver Arrests

Figure 11 show s the percentages of the 152 LEAs with driver arrest Dis indicating high overrepresentation
(DI of 2.0 or higher), moderate overrepresentation (DI of 1.1 to 1.9), or no overrepresentation (DI of 1.0 or
less) for minority drivers arrested when compared to the number of m inority drivers stopped.


                                                           Figure 11
                     Percent of Agencies with High, Moderate, or No Overrepresentation in Driver Arrests
                          by Driver Race/Ethnicity, 152 Virginia Agencies Serving Cities and Counties

                                          ■ Black      Hispanic   ■ White   □ Asian   ■ American Indian



                                     11. 2%
                                       13.2%
              High     0.0%
                      : : = l s.6%
                      ,_j 2.6%

                                                                        41.4%
                                               19.1%
         Moderate     - - - - - - 15.1%
                         2.0%
                        1.3%



                                           17.8%
                                          17.1%
             None




                     0%                   20%                     40%                  60%                80%   100%



Figure 11 above show s the following:

    •   As w as the case for searches, Black and Hispanic drivers predominate w hen there w as high or
        moderate overrepresentation for arrests and White drivers predominate w hen there w as no
        overrepresentation for arrests. Black and Hispanic drivers had consistently higher arrest Dis than
        White drivers.

             13.2% of county and city agencies had high overrepresentation of Hispanic drivers arrested,
             11.2% of agencies had the same for Black drivers, 2.6% of agencies had the same for American
             Indian drivers, and 6.6% of agencies had the same for Asian drivers. No agencies had high
             overrepresentation for White drivers arrested .




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           41.4% of county and city agencies had moderate overrepresentation of Black drivers arrested,
            19.1% of agencies had the same for Hispanic drivers, 1.3% of agencies had the same for
            American Indian drivers, and 2.0% of agencies had the same for Asian drivers. 15.1% of agencies
            had the same for White drivers.
           17.8% of county and city agencies had no overrepresentation of Black drivers arrested, 17.1% of
            agencies had the same for Hispanic drivers, less than 1% of agencies had the same for American
            Indian drivers, and 7.9% of agencies had the same for Asian drivers. 64.5% of agencies had the
            same for White drivers.
City and county agencies with zero driver arrests, and therefore driver arrest DIs of zero, are not shown in
Figure 11 above. 20.4% of these agencies (31) did not arrest any White drivers, 29.6% of these agencies (45)
did not arrest any Black drivers, 50.7% of agencies (77) did not arrests any Hispanic drivers, 95.4% of
agencies (145) did not arrest any American Indian drivers, and 83.5% of agencies (127) did not arrest any
Asian drivers.
DIs for individual agencies serving cities and counties are shown in Appendix B.

Town Agencies Traffic Stop Analysis
These 108 local PDs serve towns. Racial/ethnic data for the resident population age 15+ was not available
for these agencies.

Driver Racial/Ethnicity Analysis of Traffic Stops for Town Agencies
Because driving-age population data for each racial/ethnic group was not available for the towns served by
these PDs, a driver stop DI could not be calculated for these PDs. It was possible to examine the percentage
of drivers in each racial/ethnic group among stops made by these PDs and these percentages were
compared to the percentages of each group stopped statewide.
The percentages of Black and Hispanic drivers stopped by town agencies were lower than the percentages
of stops for these drivers statewide. While 31% of drivers stopped statewide were Black, 20% of drivers
stopped by town agencies were Black. Hispanic drivers were 9.6% of those stopped statewide and were
8.9% of drivers stopped by town agencies. The percentage of White drivers stopped by town agencies,
66.4%, was higher than the percentage of White drivers stopped statewide, 54.8%.
DCJS will continue to examine whether there are any measures available that would permit a more
meaningful assessment of racial/ethnic disparities in the traffic stops for these town agencies.

Analysis of Events Following Traffic Stops for Town Agencies
Once a stop was made, a DI could be calculated to examine racial/ethnic driver overrepresentation for
searches and arrests made following the stop by a town agency. These are discussed below.

Searches Conducted
Figure 12 shows the percentages of the 108 LEAs with driver search DIs indicating high overrepresentation
(DI of 2.0 or higher), moderate overrepresentation (DI of 1.1 to 1.9), or no overrepresentation (DI of 1.0 or
less) for minority drivers where a search occurred compared to each group of minority drivers stopped.




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                                                                  Figure 12
                              Percent of Agencies with High, Moderate, or No Overrepresentation in Searches
                                       by Driver Race/Ethnicity, 108 Vi rginia Agencies Serving Towns

                                               ■ Black     Hispanic   ■ Wh ite   □ Asian   ■ Am erican Indian



                                                   20.4%
                                       11.1%
                  High    0.0%
                         • 0.9%
                           0.9%



                                                           26.8%
                                           13 0%
           Moderate                           15.7%
                           0.9%
                          0.0%



                                          12.0%
                                   7.4%
                  None                                                                             63.0%

                          0.0%


                         0%                    20%                    40%                   60%                 80%   100%




    •   Black and Hispanic drivers again tended to have higher search Dis than other drivers.

             20.4% of town agencies had a high overrepresentation for searches involving Black drivers and
             11.1% of agencies had t he same for searches involving Hispanic drivers. No agency had the
             same for searches involving Whit e drivers.

            26.8% of town agencies had a moderate overrepresentation for searches involving Black drivers
            and 13% of agencies had the same for searches involving Hispanic drivers. 15.7% of agencies
            had the same for searches involving W hite drivers.

            Only 12% of town agencies had no overrepresentation for searches involving Black drivers and
            only 7.4% of agencies had t he same for searches involving Hispanic drivers. By comparison, 63%
            of agencies had the same for searches involving White drivers.

            American Indian and Asian drivers were underrepresented in searches.

Town agencies w ith zero searches, and t herefore search Dis of zero, are not shown in Figure 12 above.
21.3% of t hese agencies (23) did not conduct any searches involving White drivers, 40.7% (44) reported no
searches involving Black drivers, 68.5% (74) report ed no searches involving Hispanic drivers, 99.1% {107)
reported no searches involving American Indian drivers, and 97.2% (105) reported no searches involving
Asian drivers.

Driver Arrest s

Figure 13 shows the percentages of t he 108 LEAs w ith driver arrest Dis indicating high overrepresentation
(DI of 2.0 or higher), moderate overrepresentat ion (DI of 1.1 to 1.9), or no overrepresentation (DI of 1.0 or
less) for minorit y drivers where an arrest occurred, when com pared to each group of minority drivers
stopped.




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                                                                 Figure 13
                          Percent of Agencies with High, Moderate, or No Overrepresentation in Driver Arrests
                                      by Driver Race/Ethnicity, 108 Virginia Agencies Serving Towns
                                                    ■ Black      Hispanic   ■ White   □ Asian   ■ American Indian



                                                         19.4%
                                            11.1%
                   High    ~ 0.9%
                             0.9%
                            0.0%



                                                 13.9%
                                   4.6%
              Moderate                                18.5%
                            0.0%
                            0.0%



                                          9.2%

                  None                                                       38.8%




                          0%                        20%                     40%                  60%                80%   100%




    •       Black and Hispanic drivers again tended to have consistently higher arrest Dis than other drivers.

                19.4% of tow n agencies had a high overrepresentation for Black drivers arrested and 11.1% of
                agencies had the same for Hispanic drivers. Less than 1% of tow n agencies had the same for
                White drivers.

                13.9% of tow n agencies had a moderate overrepresentation for Black drivers arrested and 4.6%
                of agencies had t he same for Hispanic drivers. 18.5% of agencies had the same for White
                drivers.

                9.2% of t ow n agencies had no overrepresentat ion for Black drivers arrested and 1.8% of
                agencies had the same for Hispanic drivers. 38.8% of agencies had t he same for White drivers.

               There w as no overrepresentation in arrest s of American Indian or Asian drivers.

Tow n agencies with zero driver arrests, and t herefore arrest Dis of zero, are not show n in Figure 13 above.
41.7% of t hese agencies (45) did not arrest any White drivers, 57.4% (62) reported no arrest s of Black
drivers, 82.4% (89) did not arrest Hispanic drivers, 99.1% (107) had no arrests of American Indian drivers,
and 98.2% (106) had no arrest s of Asian drivers.

Dis for individual agencies serving tow ns are show n in Appendix C

Geographic Presentation of Stop Search and Arrest Dis for            1                1

City County and Town Agencies
        1           1


The maps in Figures 14- 16 illustrate w hich local areas of Virginia had high, moderate, or no
overrepresentation for driver stops, searches, and driver arrests, for each driver racial/ethnic group. The
local area boundaries show n on the maps are city and county boundaries. Tow n boundaries are not show n,
but their stop data is included in the DI calculated for t heir surrounding county. This means that t he county
Dis used for the maps w ere calcu lated differently from the county LEA Dis show n earlier in this report. The
county Dis show n previously were based on on ly stops reported by each LEA that serves the county,



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w hereas the county Dis used for the follow ing maps include stops reported by all agencies that serve the
county, as well as stops reported by agencies that serve any tow n located w ithin the county. The same
applies for Dis calculated for searches and arrests (for more details on how the Dis w ere ca lculated for the
maps, see Appendix H).

                                                     Figure 14
                             Local Area Maps for Driver Stops by Driver Race/ Ethnicit y


                                                                                     Local Area DI

                                                                                White Drivers Stopped

         D    No stops
         -    High overrepresentation (DI 2 .0 or higher)
         -    Moderate overrepresentation (DI 1.1 to 1.9)
         D    No overrepresentation (DI up to 1.0)




                         Local Area DI                                             Local Area DI

                  Black Drivers Stopped                                 Hispanic (any race) Drivers Stopped




                         Local Area DI                                               Local Area DI

             American Indian Drivers Stopped                                     Asian Drivers Stopped




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                                                    Figure 15
                              Local Area Maps for Searches by Driver Race/ Ethnicit y

A search may have been conducted of the driver on ly, of a passenger only, of the vehicle on ly, or of any
combination of the three. Since only the driver race/ ethnicity w as reported, a search is defined here with
respect to the driver's race/ ethnicity. It does not necessarily mean that the driver w as searched.


                                                                                     Local Area DI

                                                                             Searches with White Drivers
            D     No searches
            -     High overrepresentation (DI 2.0 or higher)
            -     Moderate overrepresentation (DI 1.1 to 1.9)
            D     No overrepresentation (DI up to 1.0)




                                                                                    Local Area DI
                       Local Area DI
                                                                     Searches with Hispanic (any race) Drivers
                Searches with Black Drivers




                        Local Area DI                                            Local Area DI
          Searches with American Indian Drivers                           Searches with Asian Drivers




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                                                        Figure 16
                                   Local Area Maps for Arre st s by Driver Race/ Ethnicity




                                                                                         Local Area DI

                                                                                      White Driver Arrest s

         D     No driver arrests
         -     High overrepresentation (DI 2 .0 or higher)
         -     Moderate overrepresentation (DI 1.1 to 1.9)
         D     No overrepresentation (DI up to 1.0)




                         Local Area DI                                                  Local Area DI

                     Black Driver Arrests                                    Hispanic (any race) Driver Arrest s




                        Local Area DI                                                 Local Area DI

             American Indian Driver Arrests                                       Asian Driver Arrests




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Other Agencies Traffic Stop Analysis
There were 44 "Other" state, local and private agencies serve locations that have no defined, stable
population . Typically these were agencies that serve larger college/ university campuses with public roads or
locations such as state parks, airports, railroads, or other commercial locations.

Traffic Stops for Other Agencies
Because driving-age population data for each racial/ethnic group was not available for the areas served by
these agencies, a driver stop DI could not be calculated for these agencies. It was possible to examine the
percentage of drivers in each racial/ethnic group among stops made by these agencies and these
percentages were compared to those for each group stopped statewide.
The percentages of White and Black drivers stopped by other agencies was simi lar to the percentages
stopped statewide. 54.3% of drivers stopped by other agencies were White, compared with 54.8% of stops
statewide, and 30% of drivers stopped by other agencies were Black, while 31% of all stops statewide were
of Black drivers. The percentage of Hispanic drivers stopped by other agencies, 7.9%, was lower than the
percentage stopped statewide, 9.5%
For future annual reports, DCJS will continue to examine w hether there are any measures available that
would permit a more meaningful assessment of racial/ethnic disparit ies in the traffic stops for these other
agencies.

Analysis of Events Following Traffic Stops for Other Agencies
Once a stop was made, a DI could be calculated to examine racia l/ethnic driver overrepresentation for
searches and arrests made following the stop. These are discussed below.

Searches Conducted
Figure 17 shows the percentages of the 44 other LEAs with search Dis indicating high overrepresentation (DI
of 2.0 or higher), moderate overrepresentation (DI of 1.1 to 1.9), or no overrepresentation (DI of 1.0 or less)
for minority drivers where a search occurred when compared to each group of minority drivers stopped.

                                                              Figure 17
                           Percent of Agencies with High, Moderate, or No Overrepresentation in Searches
                                         by Driver Race/Ethnicity, 44 Virginia Other Agencies

                                         ■ Black       Hispanic   ■ White   D Asian   ■ American Indian



                                       13.6%
                                         160%
                High U _23%
                      =::J 4.5%
                          0.0%



                                                   22.7%

           Moderate




                      -           9.1%
                                     11.4%
               None - - - - - - - - - - - - 40.9%
                          0.0%
                          0.0%



                      0%                     20%                  40%                  60%                80%   100%




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    •   Black and Hispanic drivers again tended to be searched at a higher rate than other driver groups,
        with mostly higher search Dis than other drivers.

             13.6% of other agencies had a high overrepresentation for searches involving Black drivers and
             16% of agencies had the same for Hispanic drivers. 2.3% of other agencies had the same for
             White drivers.

             22.7% of other agencies had a moderate overrepresentation for searches involving Black drivers
             and 2.3% of agencies had the same for Hispanic drivers. Only 9.1% of agencies had the same for
             White drivers.

            Only 9.1% of other agencies had no overrepresentation for searches involving Black drivers,
            while 11.4% of agencies had the same for Hispanic drivers. By comparison, nearly 41% of
            agencies had the same for W hite drivers.

            4 .5% of other agencies had a high overrepresentation for Asian drivers and 2.3% had a
            moderate overrepresentation. No agencies had an overrepresentation for American Indian
            drivers.

Other agencies with zero searches, and therefore search Dis of zero, are not shown in Figure 17 above.
70.4% of these agencies (31) did not conduct any searches involving Hispanic drivers, 54.5% (24) reported
no searches involving Black drivers, 47.7% (21) reported no searches involving W hite drivers, and 93.2% (41)
had no searches involving Asian drivers. No other agency reported any searches involving American Indian
drivers.

Driver Arrests

Figure 18 shows the percentages of the 44 other LEAs w ith driver arrest Dis indicating high
overrepresentation (DI of 2.0 or higher), moderate overrepresentation (DI of 1.1 to 1.9), or no
overrepresentation (DI of 1.0 or less) for minorit y drivers arrested, when compared to each group of
m inority drivers stopped.



                                                             Figure 18
                        Percent of Agencies with High, Moderate, or No Overrepresentation in Driver Arrests
                                        by Driver Race/Ethnicity, 44 Virginia Other Agencies

                                         ■ Black       Hispanic   ■ White   D Asian   ■ American Indian



                                4.5%
                                               20.4%
                 High           4.5%
                            2.3%
                         0.0%



                                       13.6%
                             2 3%
           Moderate     L__            13.6%
                        ~
                         0.0%



                                       13.6%
                                4.5%
                 None   - - - - - - - 22.7%
                        0.0%
                        0.0%



                        0%               20%                      40%                  60%                80%   100%




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       DIs for arrests of Black and Hispanic drivers by other agencies were mixed, with some DIs
        comparable to those for other drivers.
           4.5% of other agencies had a high overrepresentation for Black and White drivers and 20.4% of
            agencies had the same for Hispanic drivers.
           13.6% of other agencies had a moderate overrepresentation for Black and White drivers
            arrested. 2.3% of agencies had the same for Hispanic drivers.
           13.6% of other agencies had no overrepresentation for Black drivers arrested and 4.5% of
            agencies had the same for Hispanic drivers. 22.7% of agencies had the same for White drivers.
           Only about 2% of other agencies had either high or moderate overrepresentation for Asian
            drivers. No agencies had an overrepresentation for American Indian drivers.
Other agencies with zero driver arrests, and therefore arrest DIs of zero, are not shown in Figure 18 above.
59.1% of these agencies (26) did not arrest any White drivers, 68.2% (30) reported no arrests of Black
drivers, 72.7% (32) did not arrest any Hispanic drivers, and 99.4% (42) had no arrests of Asian drivers. No
other agency had any arrests of American Indian drivers.
DIs for individual “Other” agencies are shown in Appendix D.




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Interpretation of Findings
The overall finding of this analysis is that, statewide, Black and Hispanic drivers in Virginia were
disproportionately stopped by law-enforcement when compared to White drivers based on the number of
drivers stopped relative to their numbers in Virginia’s driving-age population. This type of disparity was seen
among traffic stops made by most of the individual law-enforcement agencies for which disparity measures
could be calculated.
The finding that minority drivers are more likely to be stopped by law-enforcement is consistent with traffic
stop research conducted in other states. Two recent large-scale studies, one using data from 20 million and
another using data from nearly 100 million traffic stops, illustrate this.
In 2018, Baumgartner, Epp, and Shoub published Suspect Citizens: What 20 Million Traffic Stops Tell Us
About Policing and Race. Their research reviewed statewide traffic stop data from North Carolina and
included virtual every locality in the state over the 14-year period 2002–2016. They concluded:
    “We conduct [sic] the most comprehensive analysis to date of traffic stops in a single state, North
     Carolina…. [P]owerful disparities exist in how police interact with drivers depending on their
     outward identities: race, gender and age, in particular…. First, there are stark differences. Second,
     young men of color are clearly targeted for more aggressive treatment. Third, these differences
     are not fully justified by differences in criminality.” (p. 2).
In 2020, Pierson et. al. published A Large Scale Analysis of Racial Disparities in Police Stops Across the United
States. Their research was based on nearly 100 million traffic stops carried out by 21 state patrol agencies
and 35 municipal police departments over nearly a decade. They concluded:
    “Relative to their share of the residential population, we found that black drivers were, on average,
     stopped more often than white drivers…. Among stopped drivers, we found that black and
     Hispanic individuals were, on average, searched more often than White individuals…. Our analysis
     provides evidence that decisions about whom to stop and, subsequently whom to search are
     biased against black and Hispanic drivers.” (pgs. 5-16).
Although this preliminary Virginia traffic stop analysis identified disparities in traffic stop rates related to
race/ethnicity, it does not allow us to determine or measure specific reasons for these disparities, nor does
it allow us to parse out what may be disparities due to bias-based profiling from other possible factors.
Previous research has identified various factors that could contribute to why members of a racial/ethnic
group may be stopped at a higher or lower rate than their presence in the population, including:
       Bias (explicit or implicit) by law-enforcement officers towards a racial/ethnic group.
       Different driving rates or patterns by different racial/ethnic groups (perhaps linked to differences in
        housing or employment locations, in use of public transportation, etc.).
       Different rates of policing in different areas (minorities may be more likely to drive in or through
        higher crime areas, which are policed more than other areas).
       Different agency practices (some LEAs differ on how much discretion they give officers in deciding
        when to make a stop).
The Virginia Department of Criminal Justice Services did not attempt to make a judgement about what
Disparity Index (DI) values constitute a “good” or a “bad” degree of overrepresentation. The DI is a way of
showing that a disparity existed and, to some extent, the relative degrees of disparity that existed between
different LEAs. DCJS also did not attempt to determine what DI values constitute statistically significant
values. A DI of 2.5 indicates a greater degree of disparity than a DI of 1.5, but at this preliminary stage in the


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data collection, reporting and analysis, this is a descriptive difference, not a statistically significant
difference.
The Community Policing Act directed DCJS to obtain driver traffic stop data “for the purposes of analyzing
the data to determine the existence and prevalence of the practice of bias-based profiling and the
prevalence of complaints alleging the use of excessive force.”
Although the analysis showed that Black and Hispanic drivers were stopped at higher rates than White
drivers, and tended to have more negative outcomes once stopped, the current analysis does not tell us
why these disparities exist. This is not unique to Virginia. A review of research done by other states and by
academics shows that identifying the reasons for these disparities is difficult.
The overriding challenge to empirically determining to what extent bias-based profiling may be contributing
to these disparities is what is referred to as the “benchmark problem.” To help determine if bias is a factor
in driver stops, one would need to be able to compare the proportion of stops made for each racial/ethnic
group to the appropriate benchmark: the number of drivers in each racial/ethnic group who are actually
driving on the road and subject to being stopped. No one has yet found an accurate way to do this.
This analysis, and analyses conducted in other states, used each racial/ethnic group’s proportion of the
resident population as a benchmark for measuring traffic stop disparities. However, resident population
provides, at best, a crude measure of exposure to traffic stops. A given racial/ethnic group’s proportion of
the resident population age 15+ in a locality is not the same as that group’s proportion of the driving
population in that locality. The driving population for a group is what is exposed to potential traffic stops,
not the entire age 15+ residential population. Some residents do not drive at all. They may be incapable of
driving, not have a driver’s license or a motor vehicle, or simply choose not to drive. Not all residents of a
locality drive. Others may drive, but rarely. In some localities, some racial/ethnic groups may be more likely
than others to use public transportation rather than drive.
Transient drivers also complicate comparisons of stopped drivers with the demographics of the resident
driver-age population. A locality may have a small number of Black residents, but a large number of Black
drivers from other localities that regularly drive through or into that locality (for example, someone living in
one locality but driving daily into another locality where they work). Therefore, a much higher number of
Black drivers could be subject to traffic stops than there are in the Black resident population to which these
drivers are compared. This could drastically inflate the calculated disparity rate for the agency serving this
locality. Examples of extreme DIs likely due to this issue were pointed out in the report section presenting
the analysis of agency-level traffic stop data.
Virginia is not alone in its search for better approaches to using traffic stop data to look for indicators of
bias-based profiling. Previous research examining traffic stop data has highlighted that racial/ethnic
disparities exist, and found indications that bias-based profiling plays a role in these disparities. The
problem is finding a method of determining how much of this disparity may be due to bias and how much
may be due to other factors:
   “Our inability to devise a universally acceptable method for measuring racial and ethnic proportions
    within an ever-changing driving population remains one of the most controversial methodological
    challenges in racial profiling research…. Racial profiling studies based on poorly constructed
    benchmarks cause political and public relations problems and sometimes result in ill-fated
    legislation.” (Withrow and Williams, 2015, p.1).
   “Most of the analyses reported show that police traffic stops are not proportional to the racial
    distribution of that jurisdiction's resident population, but most studies do not conclude that the
    police are engaged in racial profiling.” (McMahon et. al., 2002, p. 1)




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The U.S. General Accounting Office reviewed available data on bias in traffic stops from Florida, Maryland,
New Jersey, and Pennsylvania, and concluded:
    “The quantity and quality of information that these analyses provided varied, and the findings are
     inconclusive for determining whether racial profiling occurred. Although inconclusive, the
     cumulative results of the analyses indicate that in relation to the populations to which they were
     compared, African Americans in particular, and minorities in general, may have been more likely to
     be stopped on the roadways studied…. These limitations notwithstanding, we believe that in order
     to account for the disproportion in the reported levels at which minorities and Whites are stopped
     on the roadways, (1) police officers would have to be substantially more likely to record the race
     of a driver during motorist stops if the driver was a minority than if the driver was White, and (2)
     the rate and/or severity of traffic violations committed by minorities would have to be
     substantially greater than those committed by Whites. We have no reason to expect that either of
     these circumstances is the case (U.S. General Accounting Office, 2000, pgs. 4, 9).
Some researchers have identified methods that allow for a better understanding of the factors that can
confound measures of traffic stop disparities, and these include:
       Comparing the percentages of traffic stops made for each driver racial/ethnic group during daylight
        hours to those of drivers stopped during nighttime hours.
       Comparing the percentage of traffic stops made for drivers in each racial/ethnic group to the
        percentage of these drivers involved in traffic accidents.
       Comparing how often contraband is found when searchers are made involving stopped drivers in
        each racial/ethnic group.
       Comparing data on the how many drivers in each racial/ethnic group are residents or non-residents
        of the locality in which the traffic stop was made.
       Identifying traffic stops in which the role of bias-based profiling may be minimal or nonexistent.
Virginia could use the methods above to improve its traffic stop data collection, reporting and analysis. How
this could be done is discussed in the following Conclusions and Recommendations section.




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Conclusions and Recommendations
The overall finding of this analysis is that, statewide, Black and Hispanic drivers in Virginia were
disproportionately stopped by law enforcement when compared to other drivers, based on the number of
drivers stopped relative to their numbers in Virginia’s population. This type of disparity was seen among
traffic stops made by many individual law-enforcement agencies for which disparity measures could be
calculated. Stops of Black and Hispanic drivers were also more likely to result in a search or an arrest. This
finding is consistent with traffic stop research conducted in other states.
Although this preliminary Virginia traffic stop analysis identified disparities in traffic stop rates related to
race/ethnicity, it does not allow us to determine or measure specific reasons for these disparities. Most
importantly for this study, it does not allow us to determine the extent to which these disparities may be
due to bias-based profiling or due to other factors that can vary depending on race or ethnicity.
To improve Virginia’s ability to determine the existence and prevalence of bias-based profiling and the
prevalence of complaints alleging the use of excessive force, the Virginia Department of Criminal Justice
Services makes the following recommendations:
  Currently, researchers have no precise measure of how often drivers of a given racial/ethnic group drive in
  their communities. Within each racial/ethnic group’s population in a locality, some individuals do not
  drive at all; they may be incapable of driving, not have a driver’s license or a motor vehicle, or simply
  choose not to drive even if they can. Others may drive, but rarely, and others still may be more likely to
  use public transportation than drive. Additionally, many localities have high numbers of drivers from
  different racial/ethnic groups who are passing through the locality – and subject to being stopped – but
  who are not residents and therefore are not counted in the localities’ resident population figures. These
  nonresident driver stops can skew measures of traffic stop disparities for such localities.
        RECOMMENDATION 1: The percentages and Disparity Indexes (DIs) presented in this preliminary
        report should not be interpreted to indicate that any individual law-enforcement agency is
        practicing bias-based profiling. Given the limitations noted above, these figures should only be used
        to identify where the numbers indicate that certain ethnic/racial groups are being
        disproportionately stopped, which may bear further review to identify why this is occurring and
        whether any action should be considered to reduce or eliminate it.
  Finding an appropriate benchmark to represent the actual driving population for any given racial/ethnic
  group is a problem that limits all traffic stop research, not just Virginia’s efforts. Some researchers have
  identified methods that can allow for better (but not exact) ways of examining the extent to which bias-
  based profiling may play a role in driver stops, or can at least help remove some of the confounding
  factors that make it difficult to determine the roles that profiling may play. These methods, described
  below, could be applied in Virginia’s analysis of traffic stop data, but would require additional driver stop
  information not currently collected under the Community Policing Act. Specific recommendations for
  additional information to be collected in accordance with the Act are listed below. In addition, as noted in
  Recommendation 7, the state may wish to consider allocating additional resources to law-enforcement
  agencies, particularly smaller agencies, to assist with the collection of existing and future data elements
  required under the Community Policing Act.
     Comparing the percentages of traffic stops made for each driver racial/ethnic group during daylight
      hours to those of drivers stopped during nighttime hours. This approach assumes that, during
      nighttime hours, law-enforcement officers would be less likely to discern the race/ethnicity of drivers
      they decide to stop than during daylight hours. If this is true, disparities based on driver race/ethnicity
      should occur less frequently in stops made during nighttime hours than in stops made during daylight



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      hours. Research in other states has found evidence that non-White drivers are stopped less often
      during nighttime hours—when their race/ethnicity is less visible to law-enforcement officers.
        RECOMMENDATION 2: Collect data on the time of day at which each traffic stop was made, and add
        this data to the CPA database. This data would allow DCJS to analyze traffic stop data by comparing
        disparities in driver stops made during hours of daylight and nighttime.

     Comparing the percentage of traffic stops made for drivers in each racial/ethnic group to the
      percentage of these drivers involved in traffic accidents. Research has shown that the racial/ethnic
      makeup of accident-involved drivers provides a better representation of the actual driving population
      than the racial/ethnic makeup of the resident driving-age population.
        RECOMMENDATION 3: Collect data on the race/ethnicity, age, and gender of drivers involved in
        traffic accidents in each Virginia locality. (It would not be necessary to collect personally identifiable
        information on the driver, only the demographic data.) How and where this data would be collected
        and stored would need to be determined, but the data would need to be maintained in a way that
        would allow DCJS to compare it with traffic stop data for each locality.

     Comparing how often contraband is found when searches are made involving stopped drivers in each
      racial/ethnic group. Research in other states has found that contraband “hit rates” are lower for non-
      White drivers than for White drivers. This may indicate that officers are making decisions to search
      non-White drivers based on a lower evidentiary bar than for searches of White drivers, suggesting
      that racial/ethnic bias may have been a factor when making search decisions.
        RECOMMENDATION 4: Collect data on searches made for contraband during traffic stops, and the
        results of the searches, and add this data to the CPA database.

     Comparing data on how many drivers in each racial/ethnic group are residents or nonresidents of the
      locality in which the traffic stop was made. This would allow DCJS staff to better understand the
      extent to which the resident driving-age population of a locality represents the actual driving
      population in the locality.
        RECOMMENDATION 5: Collect data on the residence of drivers involved in traffic stops, and add this
        data to the CPA database. This might be done using data collected from the driver’s license.

     Identifying traffic stops in which the role of bias-based profiling may be minimal or nonexistent, so
      these stops can be eliminated from the DCJS traffic stop analysis when appropriate. These could
      include traffic stops made based on checkpoints or roadblocks, or made using electronic devices such
      as Radar, Laser, Light Detection and Ranging (LIDAR); Visual Average Speed Computer and Recorder
      (VASCAR); and license plate readers.
        RECOMMENDATION 6: Collect data on the method by which the traffic stop was initiated, to
        distinguish stops in which an officer’s observation of the driver’s race/ethnicity could have played a
        role from stops in which it would be less likely to play a role. Add this data to the CPA database.

Additional Recommendations
        RECOMMENDATION 7: Virginia should examine the need to provide resources to smaller law-
        enforcement agencies that had difficulty implementing the CPA data collection and reporting
        requirements. Assistance could be provided in several ways, such as helping these agencies train
        staff on reporting requirements and practices, and providing them with more effective data
        collection tools such as a statewide electronic summons application.



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        RECOMMENDATION 8: Virginia should examine the feasibility of obtaining more accurate data on
        the race and ethnicity of drivers who are involved in law-enforcement traffic stops. Under the CPA,
        law-enforcement officers now have two methods for determining the race/ethnicity of a driver:
        officers must either make their own determination about a driver’s race/ethnicity (which may or
        may not be accurate) or ask for that information in the course of the traffic stop, which could raise
        constitutional concerns or escalate the perception of conflict in certain situations. Virginia does not
        collect and store information about a driver’s race or ethnicity.
        RECOMMENDATION 9: Virginia should examine the feasibility of collecting data on the
        race/ethnicity of the law-enforcement officers making traffic stops, and adding it to the CPA
        database. This would allow DCJS staff to assess whether there are indications that the race/ethnicity
        of the officer making a stop is related to racial/ethnic disparities in stops.
        RECOMMENDATION 10: DCJS staff should conduct additional research on methods for calculating
        driver racial/ethnic disparities for agencies serving towns. Currently, the resident driving-age
        population data needed to examine stops by these agencies is limited, and DCJS staff should
        determine if this data, or other suitable data, is available. Similarly, DCJS staff should examine
        whether it is feasible to reliably assess traffic stop disparities for “other” agencies that do not have
        stable, defined resident population figures.
        RECOMMENDATION 11: DCJS staff should continue to work with VSP to determine how data on
        complaints of excessive use of force can be collected in a manner that allows for an examination of
        bias-based profiling in use of excessive force cases.




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Appendices (available online)
APPENDIX A:
Traffic Stop Table for Virginia State Police
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/cpad-appendices/Appendix-
A CombinedVSP TrafficStopReport.pdf

APPENDIX B:
Traffic Stop Tables for Law-Enforcement Agencies Serving Cities and Counties
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/cpad-appendices/Appendix-
B 152CityCounty.pdf

APPENDIX C:
Traffic Stop Tables for Law-Enforcement Agencies Serving Towns
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/cpad-appendices/Appendix-
C 108Town.pdf

APPENDIX D:
Traffic Stop Tables for Other Law-Enforcement Agencies
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/cpad-appendices/Appendix-
D 44Other.pdf

APPENDIX E:
Law-Enforcement Agencies Not Reporting Traffic Stop Data
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/cpad-appendices/Appendix-E.pdf

APPENDIX F:
Bias-Based Profiling Legislation (HB 5030) Effective July 1, 2021
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/cpad-appendices/Appendix-F.pdf

APPENDIX G:
VSP Community Policing Data Collection Instructions and Technical Specifications (Version 3)
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/cpad-appendices/Appendix-G.pdf

APPENDIX H:
Notes on Disparity Index (DI) Calculation Methodology
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/cpad-appendices/Appendix-H.pdf

APPENDIX I:
Use of Force Data
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/cpad-appendices/Appendix-I.pdf

APPENDIX J:
References
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/cpad-appendices/Appendix-J.pdf




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